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                                                  Exhibit A
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                                                                              COPY
                                                                                                                                                                SUM-100
                                             SUMMONS                                                                      FORCOURTUSl:DNLY
                                                                                                                       (SOLO PARA USO DE LA CORTE}
                                       (CITACJON JUDICIAL)
 NOTICE TO DEFENDANT:
 (AVISO AL DEMANDADO):
  United Parcel Service, Inc., an Ohio Corporation; Nick Kochek, an
  individual; and DOES 1 through JO, inclusive,
 YOU ARE BEING SUED BY PLAINTIFF:                                                                                            JUN 2 2 2018
 (LO ESTA DEMANDANDO EL DEMANDANTE):                                                                            Shem,.••                .• .                          .
                                                                                                                          --.· ..... , ~hl>lo...:u~'I,,, ....... i;~r/vlerl:
 Christopher Williams, an individual                                                                                  By: Cnstir.-,; Gri)Dlva, Oep11ty


  NOTICE! You have been sued. The court may decide against you wllhout your being heard unless you respond wilhln 30 days. Read the Information
  below.
     You have 30 CALENDAR DAYS after this summons and legal papers are served on you lo file a wrillen response at lhls court and have a copy
  served on Jhe plalnliff. A letter or phone call will not protect you. Your wrillen response must be In proper legal form If you want the court lo hear your
  case. There may be a court form that you can use for your response. You can find these court fonns and more informatl0t1 at the California Courts
  Online Self-Help Cenler (w.viv.courtinfo.ca.gov/selfhelp), your county law library, or the counhouse nearesl you. If you cannol pay the fifing fee, ask
  lhe coun clerk for a fee waiver forin. If you do not frle your response on time, you may lose the case by default. and your wages, money, and property
  may be taken without further warning from lhe court.
     There are olher legal requirements, You may want lo call an attorney right away. If you do not know an attorney, you may want to call an attorney
  referral service. If you cannot afford an attorney. you may be ellgible for free legal services from a nonprofit legal services program. You can locale
  these nonprofit groups at the Callfomia Legal Services Web site (www.lawhelpcalifamia.org), lhe California Courts Online Self-Help Center
  (www.courtinfo.ca.govlselfhelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
  costs on any settlement or arbitration award of $10,000 or more In a civil case. The court's lien must be paid before the court will dismiss the case.
  1AVISOI Lo hsn demandado. Si no responde dentro de 30 dlas. la corte puede decidir en su contra sin escuchar su version. Lea la infarmacion a
  continuacidn.                                        .
      Tiene JD DIAS DE CALENDAR/O desput!s de que le entroguen esta citaclon y papeles legales para presentaruna respuesta porescrito en esta
  corte y hacer que se entregue una copia al demandante. Una csrta o una /lam ada telefonica no lo protegen. Su respuesta par escri/o tiene que es tar
  en formato legal correct□ side sea que procesen su caso en la corte. Es poslb/e que haya un formulan'o que usted pueda usarpara su respuesla.
  Puede encontrarestos farmu/arios de la corte y mas Jnformacion en el Centro de Ayuda de las Cortes de California r,vww.sucorte.ca.gov), en la
  biblioteca de /eyes de su condado o en la corte que le quede mas cerca Si no puede pagar la cuota de presentacion, pids al secretario de la corle
  que le d~ un formulano de exencion de pago de cuotas. Si no presenta su respuesta a tiempo, puede perder el caso par incumplimienlo y la corte le
  podra quitar su sue/do, dinero y blenes sin mas advertencia.
     Hay otros requisi/os legates. Es recomendable que flame a un abogado inmediatamente. Si no conoce a un abogado, puede /lamar a un servicio de
  remlslon a ebogados. SI no puede pagar a un abogada, es pasible que cumpla con /os requisilos para abtener servicios legales graluitas de un
  programa de servicios regales sin rmes de /ucro. Puede encontrar es/as grupos sin fines de lucro en el sit/a web de California Legal Services,
  r,vww.lawhelpcalifomla.org/, en el Centro de Ayuda de las Cortes de California, t\,vww.sucorte.ca.gov) o poniendose en contacto con la carte a el
  colegio de abogados locales. AV/SO: Por fey, la carte tiene derecho a reclamar las cuotas y /os costos exentos por lmponer un gravamen sabre
  cualquler recuperacion de $10,000 6 mas de valor recibida meciiante un acuerr/o o una concesion de arbilraje en un caso de derecho civil. Ttene que
  pagar el gravamen de la carte antes de que Ii! corte pueda desechar el caso.

The name and address of the court is:
(El nombre y direcci6n de la corte es):          LOS ANGELES
                                                                                                          CASENUMB~
                                                                                                          /Numero<lel~ (             11 2 1 0
 I l l North Hill Street
 Los Angeles, CA 90012
The name, address, and telephone number of plainUffs attorney, or plaintiff without an attorney, is:
                      y el numero de telefono de/ abogado de! deinandante, ode/ demandante que no liene abogado, es):
(El nombro, la direcci6n
 Kamran Shahabi, Esq., VALIANT LAW, 4150 Concours St., Suite 260, Ontario, CA -(909) 677-2270

DATE:                              B                                 Cle....
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                                                                                                                                             it;.,            , Deputy
(Fecha)     JUN 2 2 2nl                                              (Ser:retarioJ                                                                             (Adjunto)
(For proof of service of this summons, use Proof of Service of Summons (form POS-01 OJ.)
(Para prueba de entrega de esta citati6n use el formulario Proof of Service of Summons. (POS-010)).
                                  NOTICE TO THE PERSON SERVED: You are served
 [SEALJ
                                  1.         D
                                          as an individual defendant.
                                  2.         D
                                          as the person sued under the fictitious name of (specify):

                                                                            lM\} \\11fl ~ ~ l C - 6 , \NC·, I\~ 0\\\0
                                        3,   ~    on behalf or (specify):                                                                      ~clN
                                             under:   'ffJ   CCP 416.10 (corporalion)                      D       CCP 416.60 (minor)
                                                      [!3    CCP 416.20 (defunct corporation)              D       CCP 416.70 (conservatee)
                                                      D      CCP 416.40 (associalion or partnership)       D       CCP 416.90 (authorized person)
                                                      D   other (specify):
                                        4.   CJ   by personal delivery on (dale);
                                                                                                                                                                 Pa ct1of1
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   JU<XiaJ Council of Calilomlo
                                                                       SUMMONS                                                    Coda of Civil Pn><IKfuro §§ ~12.20, 455
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                     Kamran Shahabi (SBN 276194)
                     ks@valiantlaw.com
                   2 VALIANT LAW
                     4150 Concours Street, Suite 260
                   3 Ontario, California 91764
                                                                                                   JUN 2 2 2018
                     Phone: 909 677 2270 ♦ Fax: 909 677 2290                             Sher..i Ii. L~, iur, Exocuiwe Ur.i~r/;
                   4                                                                          By: Cn_9f/lli.'l Gri~, 0Apilty

                   5 Attorneys for Plaintiff Christopher Williams

                   6

                   7

                   8                   SUPERIOR COURT OF THE STATE OF CALIFORNIA

                   9              COUNTY OF LOS ANGELES - STANLEY MOSK COURTHOUSE

                  IO   CHRISTOPHER WILLIAMS, an individual,           Case No.          BC 7 11 21 0
                  11                Plaintiff,                            PLAINTIFF'S COMPLAINT FOR:
            :;:
   g ~            12                                                       I.     Race Discrimination in Violation of
   "' i::
   w..-..,                   v.                                                   FEHA;
   .... " ' 0 ,

   ~~~            13                                                       2.     Hostile Work Environment -
s: Ii;$~             UNITED PARCEL SERVICE, lNC., an Ohio
Sw~•                 Corporation; NICK KOCHEK, an individual;
                                                                                  Harassment in Violation ofFEHA;
~n:oo
   Ii; IL,._      14                                                       3.     Retaliation in Violation ofFEHA;
<t "'~~              and DOES 1 through I 0, inclusive,
:::; n:o~
<ti5Q.,,          15                                                       4.     Whistleblower Retaliation in
>uo::01
   z~~                                                                            Violation of Labor Code § 1102.5;
                                   DEFENDANTS.
   ~b       I     16                                                       5.     Failure to Prevent Discrimination and
                                                                                  Retaliation in Violation of FEHA;
   ~        ~
            t-
                  17                                                       6.     Wrongful Tennination in Violation of
                                                                                  Public Policy;
                  18                                                       7.     Negligent Hiring, Retention and
                  19                                                              Supervision;
                                                                           8.     Aiding and Abetting in Violation of
                  20                                                              FEHA;
                                                                           9.     Intentional Infliction of Emotional
                  21                                                              Distress; and
                                                                           l 0.   Negligent Infliction of Emotional
                  22
                                                                                  Distress.
                  23
                                                                          (DEMAND FOR JURY TRIAL}
                  24

                  25
                  26

                  27

                  28

                                                                    -1-
                                                         PLAINTIFF'S COMPLAINT
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                Plaintiff, CHRISTOPHER WILLlAMS, complains and alleges as follows:

     2                                    JURISDICTION AND VENUE

     3          1.      This is an unlimited civil case and the Court has jurisdiction over this action because

    4 the amount of controversy exceeds $25,000, exclusive of interest and costs.

     5          2.      Jurisdiction and venue are also proper in this Court because all the claims alleged

     6 herein arose in Los Angeles County and all the DEFENDANTS are doing or did business in Los

     7 Angeles County, and/or their principal place of business is in Los Angeles County, in each case, at

     8 the times relevant herein. See also California Code of Civil Procedure § 395(a), which provides

     9 that venue is proper in this County because DEFENDANTS reside in this County and the harm to

    IO Plaintiffs occurred in this County.
    11                                                PARTIES

    12          3.      Plaintiff Christopher Williams (hereinafter, "PLAINTIFF"), at all times relevant

    13 hereto, was and is a resident of the State of California.

    14          4.      PLAINTIFF is informed and believes, and thereon alleges, that Defendant United

    15 Parcel Service, Inc. (hereinafter, "UPS"), is an Ohio corporation which does business throughout

    16 the United States, including doing substantial business in the State of California, County of Los

    17 Angeles, with its relevant business located at 1800 N. Main Street, Los Angeles, California 90031.

    18          5.      PLAINTIFF was employed by UPS to perform work in the County of Los Angeles,

    19 California during the applicable limitations period.

    20          6.      PLAINTIFF is informed and believes, and thereon alleges, that Defendant, NICK

    21   KOCHEK hereinafter, "KOCHEK"), is an individual residing in the State of California. Defendant

    22   KOCHEK is a Manager of Defendant UPS, and in that capacity during all times alleged herein,

    23   acted directly under the direction of UPS and all of his actions were approved and ratified by UPS.

    24          7.      PLAINTIFF is informed and believes, and thereon alleges, that DOES 1 through 10,

    25 inclusive, (hereinafter referred to as "DOES 0 ), are or were individuals and/or are or were doing

    26 business at all times herein mentioned and material hereto in the State of California, and are/were

    27 the alter ego, agent, managing agent, p~ncipal, owner, partner, joint venture, representative,

    28 manager, and/or co-conspirator of each of the other defendants, and were at all times mentioned

                                                         -2-
                                               PLAINTIFF'S COMPLAINT
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         herein acting within the course and scope of said agency and employment, and that all acts or

     2 omissions alleged herein were duly committed with the ratification, knowledge, permission,
     3 encouragement, authorization and consent of each defendant designated herein.

     4          8.      The true names and capacities, whether individual, corporate or associate, or
     5 otherwise, designated herein as DOES, are unknown to PLAINTIFF at this time, who, therefore,
     6 sue said DOES by such fictitious names and will ask leave of Court to amend this Complaint to

     7 show their true names and capacities when ascertained.

     8          9.      PLAINTIFF is informed and believes and based thereon alleges that at all times
     9 material hereto, UPS, KOCHEK and DOES I through l O (hereinafter collectively referred to as
    l O "DEFENDANTS 11 ) and each of them, were duly authorized agents, or servants, or representatives,

    11   or co-conspirators of the other, or the alter ego, or the principal, or the owner, or representatives,

    12 and were acting at all times within the course and scope of their agency or representative capacity
    13 with the knowledge and consent of the other.
    14           10.    All of the acts and conduct herein and below described of each and every corporate
    15 Defendant was duly authorized, ordered by management-level employees of said corporate
    16 employers. In addition, thereto, said corporate employers participated in the aforementioned acts
    17 and conduct of their said employees, agents and representatives, and each of them; and upon

    18 completion of the aforesaid acts and conduct of said corporate employees, agents and

    19 representatives, the Defendant corporations, respectively and collectively, ratified, accepted the

    20 benefits of, condoned, lauded, acquiesced, authorized and otherwise approved of each and all of the

    21   said acts and conduct of the aforementioned corporate employees, agents and representatives.

    22                     EXHAUSTION OF ADMINISTRATIVE PROCEEDINGS

    23           11.    PLAINTIFF exhausted his administrative remedies by timely filing a complaint for

    24 the issues required to be. raised herein against UPS with the California Department of Fair

    25 Employment & Housing ("DFEH") and thereafter received a "Right to Sue" letter from the DFEH,

    26 attached hereto as "Exhibit A."

    27
    28

                                                         -3-
                                               PLAINTIFF'S COMPLAINT
             Case 2:19-cv-01292-RGK-MAA Document 1-1 Filed 02/21/19 Page 6 of 54 Page ID #:14




                                                         FACTUAL ALLEGATIONS

                  2          12.      UPS is a postal and logistics company located at 1800 N. Main Street, Los Angeles,

                  3 California 9003 J and was PLAINTIFF's legal employer.

                  4          13.      On or about September 10, 2001, PLAINTIFF was hired by UPS as a loader.

                  5          14.      In 2005, PLAINTIFF was promoted to a driver. PLAINTIFF successfully worked

                  6 as a driver for approximately a year and half, until he was again promoted to a new position, road

                  7 supervisor. PLAINTIFF continued his upward trajectory during his employment with UPS, and

                  8 after nearly four and one-half years he was again promoted, this time to manager. At all relevant

                  9 times, PLAINTIFF successfully and competently performed his duties as a manager for

                 IO approximately another four to five years.

                 11          15.      PLAINTIFF is and all at relevant times was a well-qualified individual and employee
   ~
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   N
           N
           ,._   12   for the various positions he held, and was at all relevant times a satisfactory employee, meeting or
   I!! ;z :0
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   ::,-
   en"'          13 exceeding the demands of his position, as demonstrated by his numerous and consistent promotions.
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1-1!:~o
zu,- ....        14          16.      Beginning in or about 2016, UPS retained a new district team in the Southern
c( (/)    g~
~~        .fa    15 California District. Immediately thereafter, UPS began to systematically discriminate against and
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                 16   terminate African-American employees in upper-level positions and replace them with non-African-
           I!!
                 17 American employees. The discriminatory scheme included, but was not limited to, replacing or
                 18   demoting these and other African-American employees:

                 19                a. Replaced the African-American district manager with Tom Cuce - a non-African-

                 20                   American employee (Caucasian);

                 21                b. Replaced the African-American district human resources manager (Harvey Hill)

                 22                   with Don Tefft - a non-African-American employee (Caucasian);

                 23                c. Replaced the African-American division manager (Eric Decoude) with Tammy

                 24                   Brush - a non-African-American employee (Caucasian);

                 25                d. Replaced the African-American district manager (Derik Waters) with Lewis Tovlin

                 26                   - a non-African-American employee (White Hispanic);

                 27                e. Demoted the African-American division manager (Shon Swauncy) and replaced him

                 28                   with an African-American woman, who was then replaced by a non-African-

                                                                      -4-
                                                           PLAINTIFF'S COMPLAINT
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                                      American male employee (Caucasian) within a years' time.

                   2           17.    In or about this same time, UPS turned its discriminatory tactics and illegal actions

                   3 on PLAINTIFF. Starting in or about July 2016, UPS instituted the same or similar scheme to

                   4   discriminate and retaliate against PLAINTIFF in order to create pre-textual excuses to eventually

                   5 (wrongfully) terminate him.
                   6          18.     Beginning in or about July 2016, PLAINTIFF became "acting division manager"

                   7 while he was filling-in for his immediate supervisor during her vacation/time-off. While perfonning

                   8 his duties as acting division manager, UPS required PLAINTIFF to continue managing his center,

                   9 and at the same time manage the entire two buildings his supervisor was regularly responsible for.

                  IO   During this time, PLAINTIFF successfully and competently navigated and performed the duties and

                  11   responsibilities of the dual roles he was expected to perform.
            !i:
   s        i:t   12          19.     In or about early August 2016, while perfonning his duties as acting division
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   (I) QI
                  13   manager, PLAINTIFF participated in a conference call with KOCHEK, UPS' District Operations
~tu"~~
   ~~·            14 Manager. During this call, KOCHEK employed abusive conduct and bullied, berated and
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>OQa,
   u a::;i
                  15   aggressively demeaned PLAINTIFF when he was unable to allegedly provide a "satisfactory"
   a~
   ijoj           16 response for an issue that was not under PLAINTIFF's control and never was under his control.
            ~
                  17 PLAINTIFF is informed and believes that KOCHEK directed his abusive conduct at PLAINTIFF

                  18 based on his race (African-American) and for personal gratification.         PLAINTIFF is further

                  19   informed and believes that KOCHEK was substantially encouraged to freely engage in abusive and

                  20   hostile conduct toward African-American employees, including PLAINTIFF, without fear of

                  21   adverse consequences because of the pattern and practice encouraged and or ratified by UPS.

                  22          20.     Approximately three weeks later, during a district manager(s) meeting, while

                  23   engaging in his general abusive conduct, KOCHEK berated PLAINTIFF yet again. Examples of

                  24   KOCHEK's abusive conduct include, but are not limited to, remarks such as: ..Hey Mainstreet!

                  25 ("Mainstreet'' being the nickname for the building PLAINTIFF worked at) - do you guys still have
                  26   your heads up your ass? How about I cut a hole in your stomach, so you can see where you're

                  27 going?"

                  28          21.     Egregiously, this was not an isolated incident between KOCHEK and PLAlNTIFF.

                                                                        -5-
                                                            PLAINTIFF'S COMPLAINT
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         [n fact, between the years 2007-2009, PLAINTIFF was under the direct supervision and control of

     2 KOCHEK. During this period, KOCHEK went out of his way to single out PLAINTIFF and subject

     3   him to disparate treatment. The first time PLAINTIFF met KOCHEK, in or about 2007, KOCH EK

     4 refused to even acknowledge PLAINTIFF. During this period, KOCHEK engaged in abusive

     5 conduct directed at PLAINTIFF that included, but is not limited to, walking PLAINTIFF out onto
     6 the "floor" and belittling him in front of other employees. Further, during teleconferences and

     7 meetings, KOCHEK frequently: interrupted; yelled at; told PLAINTIFF he is stupid; told

     8 PLAINTIFF he did not know what he was talking about; attacked PLAINTIFF's character;

     9 subjected PLAINTIFF to strict scrutiny and went out of his way to make PLAINTIFF look

    10 incompetent. KOCHEK's abusive and disparate treatment of PLAINTIFF got so bad that then

    11   District ManagerNicc President, Noel Massie, had to step in during one ofKOCHEK abusive rants

    12 and stop KOCHEK.

    13          22.     In or about 2016, following the "cut a hole in your stomach" comment, PLAINTIFF

    14 made a verbal grievance against KOCHEK with Jose Banuelos ("Banuelos"), UPS' Human

    15   Resources. After detailing his grievance to Banuelos, Banuelos responded that he had just received

    16 another complaint against KOCH EK for the way he treats employees. PLAINTIFF is informed and

    17 believes that UPS either never investigated his complaint or refused to take it seriously.

    18          23.     PLAINTIFF is further informed and believes that UPS encourages and ratifies the

    19 disparate and discriminatory conduct of its upper-level non-African-American employees through

    20   its institution of racially discriminatory schemes, such as those alleged herein. Further, UPS was

    21   on both actual and constructive notice of KOCH EK 's abusive conduct, disparate and discriminatory

    22   actions - based on complaints from both PLAINTIFF and numerous other employees - yet failed

    23   to take any corrective action to prevent further disparate treatment.

    24          24.     In fact, this is not the first time that an abused and discriminated against employee

    25   has alleged illegal conduct against KOCHEK. In 2008, JeffBelaire brought an employment lawsuit

    26   against UPS based in part on KOCHEK's abusive conduct. Mr. Belaire was an employee for over

    27   33 years but when he transferred to a new position as an operations center manager at the Southeast

    28   California district, package operations manager, KOCHEK, began verbally and physically harassing

                                                         -6-
                                               PLAINflFF'S COMPLAINT
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                    him. (Jeff Belaire v. United Parcel Service, Inc., Leroy Stampley, and Nick Kochek, Orange County

                2 Superior Court Case No. 30-2010-00400459-CU-WT-CJC.). The jury ultimately ruled in favor of

                3 Mr. Belaire for an award of$1,419,030.

                4          25.     Despite the numerous claims against UPS and KOCHEK, PLAINTIFF alleges on

                5   information and belief that UPS acted and continues to act with a conscious disregard to the health

                6   and wellbeing of its employees, including PLAINTIFF. As a direct result, non-African-American

                7   upper-level employees, including KOCHEi(, are essentially encouraged to engage in adverse and

                8 discriminatory conduct without fear of adverse action against them.

                9          26.     Moreover, UPS is littered with a culture of sexual harassment, innuendos and

               10 inappropriate conduct - that yet again, goes completely ignored by UPS and its management. In or

               11   about August 2016, PLAINTIFF and his colleagues went to Iunch off-site at the Souplantation.
         8

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               12 PLAINTIFF and his colleagues were seated at a table next to a table occupied by some detectives

3: -~ ~        13 or local police officers. When Maria {team-member) noticed the detectives she loudly stated, "They
:51iiz-.
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SE!~~
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               14 can book me anytime!" and "I would like to sit on his nightstick!" PLAINTIFF was not shocked
ci!;so·~       15 by Maria's comments because she frequently engaged in uninvited and harassing sexual innuendos.
>u-~
   a~
   u !l!
   i;:O   ~    16 Further, sexual innuendos and sexual banter were and are common place throughout all UPS
   ;     ~
         I!!
               17 facilities, including the downtown Los Angeles facility. So much so, that either employees such as

               18 PLAINTIFF are forced to participate in such discussions, or they will be ousted, ostracized and

               19 eventually terminated.

               20          27.     In or about September 2016, PLAINTIFF went on vacation. After he returned,

               21   PLAINTIFF learned that someone had lodged a fabricated complaint against him. When UPS

               22 interviewed PLAINTIFF, UPS asked one-sided, self-serving and intentionally incriminating

               23   questions to PLAINTIFF, such that no matter what PLAINTIFF said, he was made to look like he

               24   was engaging in misconduct. PLAINTIFF is informed and believes that these questions were

               25 designed to elicit incriminating responses in order to create pre-textual excuses for tenninating him.

               26 Such questions and exaggerated accusations included but were not limited to: accusing PLAINTIFF

               27 of using profanity in the workplace; and accusing PLAINT[FF of gyrating on someone's leg.

               28          28.     During the meeting, PLAINTIFF repeatedly requested that he be told what

                                                                    -7-
                                                         PLAINTIFF'S COMPLAINT
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         specifically he was being investigated for, but UPS refused to give him any details. Approximately

     2 two weeks later and on or about September 27, 2016, UPS wrongfully terminated PLAINTIFF in

     3 retaliation for complaining about disparate treatment and discriminatory practices. Further, UPS

     4 never informed PLAINTIFF why they were terminating him. Adding insult to injury, PLAINTIFF

     5 was further humiliated and discriminated against when UPS escorted him from the building like a
     6 common criminal.

     7          29.     Following his wrongful tennination, PLAINTIFF has since learned that Maria

     8 lodged a grievance against him for alleged sexual harassment. Because UPS refused to infonn

     9 PLAINTIFF of the facts of the grievance against him, he was not afforded any opportunity to defend

    10 himself. Had UPS given PLAINTIFF the opportunity to defend himself, UPS would have learned

    11   that Maria frequently engaged in and encouraged others to engage in sexual banter and sexual

    12 innuendos with her. So much so that it was common knowledge that Maria was not offended by

    13 sexual banter. Examples of Maria's sexually charged conduct included intentionally eating jelly

    14 donuts in such a way that jelly would land on her lips and/or chin, so she could make sexual

    15 innuendos that someone had "cum" on her face.

    16          30.     Further, this kind of sexually charged conduct was not isolated to only Maria. It was

    17 and is the culture that penneates UPS facilities. In fact, sexual banter is and was so commonplace

    18 that all employees, especially those holding some of the highest supervisory positions, regularly and

    19 freely engage in sexually charged discussions. During morning meetings, PLAINTIFF's immediate

    20 supervisor frequently talked about and described the sexual intercourse he engaged in - yet just

    21   another example of the permissive culture permeating UPS.

    22          31.     PLAINTIFF strongly believes that UPS instituted a scheme to create a pre-textual

    23   excuse to terminate him in retaliation for opposing and complaining of disparate and discriminatory

    24 conduct. This is not only supported by the facts alleged herein, but also by the fact that when Shon

    25 Swaney, African-American Division Manager, was demoted instead, it was in response to a sexual

    26 harassment complaint made against him. As alleged below, the allegations surrounding Mr.

    27 Swancy's sexual harassment claims and conduct were extreme and egregious, yet unlike

    28   PLAINTIFF, Mr. Swaney was only demoted and not tenninated.

                                                        -8-
                                              PLAINTIFF'S COMPLAINT
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                                 32.     In Mr. Swancy's case, an hourly employee, who worked in an entirely different city,

                      2   accused him of sexual harassment in a blast e-mail to other UPS employees. This employee created

                      3 an e-mail account and carbon copied (cc'd) the entire district plane unit, including all district

                      4   managers and corporate human resources. The e-mail detailed her accusation against Mr. Swaney.

                      5 Amazingly, UPS simply demoted Mr. Swaney instead of terminating his employment. Not so

                      6 surprisingly though, and in keeping with its scheme to replace African-American upper-level

                      7 employees, within a year of his demotion, UPS placed a non-African-American (Caucasian}

                      8   employee in the supervisor position that Mr. Swaney held.

                      9          33.     Further, UPS regularly and actively protected its non-African-American employees,

                     IO   including Brandon Bean ("Bean"), a supervisor - and a well-known serial sexual harasser - from

                     11   adverse action.   In Bean's case, PLAINTIFF was asked by Amber Enriquez, (non-African-
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    ~ ....~          12 American) supervisor, to informally address the sexual harassment Bean subjected her too.
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         -5l         13   PLAINTIFF, understanding the severity of the situation, advised HR about Ms. Enriquez's
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                     14 complaint. Shockingly, although HR discovered the truth of Ms. Enriquez's complaints, they failed

>oQ~                 15   to terminate Bean or to take any substantive steps to protect her and other female employees from
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                     16 further sexual harassment by Bean. Further, and as Bean himself admitted to PLAlNTlFF, this was
               I!!
                     17 the third sexual harassment grievance lodged against him. PLArNTIFF is infonned and believes

                     18   taht Bean is still emploved by UPS and, by and through UPS' inaction, is essentially encouraged to

                     19 continue sexually harassing female employees (as he regularly does).

                     20          34.     Egregiously, despite being on actual and constructive notice of serial sexual harassers

                     21   like Bean, PLAINTIFF is informed and believes that UPS continued and continues to this day to

                     22 protect Bean and other non-Afiican-American employees from termination even when the law and
                     23 UPS' own policies are consistently and egregiously violated.
                     24          35.     Further, during the so-called "investigation" against PLAINTIFF, John Tefft a

                     25   Caucasian HR manager ("Teffi"), audaciously professed that he implements a zero-tolerance policy

                     26 against disparate treatment in the workplace. In response, PLAINTIFF defended himself by pointing
                     27   out that if that were true then employees like Bean and Jack Bloomfield ~ both non-African-

                     28   American supervisors who committed egregious violations - would have been terminated.

                                                                           -9-
                                                               PLAINTIFF'S COMPLAINT
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                      Unsurprisingly, Tefft dismissively responded that he takes everything on a case by case basis. As

                  2 admitted in that response, Tefft, the district human resource manager responsible for enforcing

                  3 California work-place law and UPS' own anti-discrimination and harassment policies, clearly does

                  4 not enforce his "zero-tolerance policy" consistently, and instead utilizes a self-serving and pretextual

                  5 "case by case" standard that permits discrimination, retaliation and wrongful tennination. Tefft and

                  6 UPS instead evaluate each claim to determine whether the harasser is non-African-American and

                  7 thereby "deserving" of special treatment and/or favoritism. African-American employees, including

                  8 PLAINTIFF, who engage in consensual (either actual or implied) sexual banter, are singled out,

                  9 discriminated and retaliated against.

                 10          36.     During his tenure with UPS, PLAINTIFF was an excellent employee. He cnme to

                 11 work every day ready to work and worked harder than many of the other employees in his same
    :i!l   ~     12 position. PLAINTIFF regularly worked 14 to 16-hour days, and from the beginning was a successful
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 ., "'           13 and dedicated employee - as evidenced by his several promotions.
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    tn~~         14          37.     Shortly after UPS instituted its discriminatory scheme to terminate upper-level
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>02:;:           15 African-American employees, UPS targeted PLAINTIFF - an upper-level African-American
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    8~~          16 employee - for termination.       UPS wasted no time in creating a pre-textual "investigation" to
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    ~ ~
                 17 wrongfully tenninate PLAINTIFF to further its objective of replacing upper-level African-
                 18 American employees with non-African-American employees. Upon terminating PLAINTIFF, UPS

                 19 placed Uriel Moreno (a non-African-American) into PLAINTIFF's position - just further
                 20 evidencing UPS' discriminatory scheme as alleged herein.

                 21          38.     PLAINTIFF is infonned and strongly believes that during the litigation of his claims

                 22 he will uncover additional evidence supporting his allegations against UPS, given the number of

                 23   claims against UPS and the other pending or adjudicated lawsuits. Further, it will likewise be

                 24   discovered that other current and fonner employees have experienced the same or similar

                 25 discrimination, retaliation and abusive conduct by UPS managers, including KOCHEK.
                 26          39.     PLAINTIFF has suffered financially and emotionally as a result of UPS' multiple

                 27 fonns of harassment, hostile work environment, retaliation, wrongful termination and various
                 28 wage and hour violations.

                                                                      -10-
                                                            PLAINTIFF'S COMPLAINT
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                40.     PLAINTIFF now commences this suit against DEFENDANTS, and each of them,

     2 and allege the following:

     3                                     FIRST CAUSE OF ACTION

     4                              Race Discrimination in Violation of FEHA

     5                                               (As to UPS)

     6          41.     PLAINTIFF incorporates by reference, repeats and realleges, all preceding and

     7 subsequent paragraphs.

     8          42.     The conduct alleged herein and ultimate tennination of employment of PLAINTIFF

     9   was based on his race (African-American) and was part of an ongoing and continuing pattern of

    10 conduct in violation of California Government Code§§ 12926(o) and l 2940(a) and (h). Government

    11   Code§ l 2940(a) of FEHA makes it unlawful to for an employer to discriminate against an employee

    12 on the basis of the employee's race. Government Code§ 12940(h) of FEHA makes it unlawful to

    13   for an employer to discharge, expel, or otherwise discriminate against any person because the person

    14 has opposed any practices forbidden under this part. At all times herein mentioned, the FEHA (Cal.

    15   Gov't. Code § 12900 et seq.) and its implementing regulations were in full force and effect and

    16 binding on UPS.

    17          43.     PLAINTIFF was an employee of UPS. Further, as alleged above, UPS knew or

    18 perceived PLAINTIFF to be African-American.

    19          44.     UPS terminated his employment on or about September 27, 2016.

    20          45.     UPS violated California Government Code § l 2940(a) and (h) of FEHA by

    21   discriminating against PLAINTIFF on the basis of his race. Specifically, PLAINTIFF suffered a

    22 series of adverse employment actions which were motivated by his race. The adverse employment
                                                                                                                ✓



    23   actions against PLAINTIFF include but are not limited to the following: (a} subjecting PLAINTIFF

    24 to a pattern of discrimination and harassment; (b) subjecting PLAINTIFF to different workplace

    25 standards; (c) subjecting PLAINTIFF to unwarranted criticism of his work performance; and (d)

    26   terminating PLAINTIFF's employment. PLAINTIFF's race (African-American) was a motivating

    27   factor in DEFENDANTS' decision to terminate PLAINTIFF's employment in violation of

    28   California Government Code § l 2940(a) and (h).

                                                         -II-
                                              PLAINTIFF'S COMPLAINT
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                  46.   UPS' acts were malicious, oppressive or discriminatory with intent to vex, injure,

     2 annoy, humiliate and torment PLAINTIFF, in conscious disregard of the rights or safety of
     3   PLAINTIFF, and in furtherance of UPS' ratification of the wrongful conduct of the representatives

     4 and/or agents of DEFENDANTS.

     5            47.   At all relevant time periods UPS failed to make an adequate response and

     6 investigation into the conduct of UPS' supervisors, including KOCHEK, employees, and the
     7 aforesaid pattern and practice of discrimination, and thereby established a policy, custom, practice

     8 or usage within the organization of UPS which condoned, encouraged, tolerated, sanctioned,

     9 ratified, approved of, and/or acquiesced in unlawful sexual orientation discrimination towards

    10 employees of UPS including, but not limited to, PLAINTIFF.

    11            48.   At all relevant time periods, there existed within the organization of UPS a pattern

    12 and practice of conduct by its personnel which resulted in sexual orientation discrimination,

    13 including but not necessarily limited to, conduct directed at PLAINTIFF.

    14            49.   The failure of UPS to provide any or adequate education, training, and information

    15 to personnel concerning policies and practices regarding sexual orientation discrimination,

    16 constituted deliberate indifference to the rights of employees, including but not limited to those of

    17 PLAINTIFF.

    18            50.   As a result of UPS' disparate treatment of PLAINTIFF because he is a member of a

    19 protected class, PLAINTIFF was harmed.

    20            SI.   As a proximate result of UPS' race discrimination, beratement and retaliation,

    21   PLAINTIFF has sustained and continues to sustain losses in earnings and other employment

    22   benefits.

    23            52.   As a proximate result of DEFENDANTS' race discrimination, beratement and

    24   retaliation, PLAINTIFF has sustained and continues to suffer emotional distress, mental and

    25   physical pain; anguish, pain and suffering, loss of sleep, loss of appetite, anxiety, depression and

    26   shame.

    27            53.   DEFENDANTS' harassment, discrimination, beratement and retaliation of

    28   PLAINTIFF because of his race were substantial factors in causing PLAINTIFF's harm.

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                                              PLAINTIFF'S COMPLAINT
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                           54.     PLAINTIFF has incurred and continues to incur legal expenses and attorneys' fees.

                2 PLAINTIFF will seek the recovery of his attorneys' fees and costs at the conclusion of this lawsuit.

                3                                    SECOND CAUSE OF ACTION

                4                   Hostile Work Environment- Harassment in Violation of FEHA

                5                                       (As to All DEFENDANTS)

                6          55.     PLAINTIFF incorporates by reference, repeats and realleges, all preceding and

                7 subsequent paragraphs.

                8          56.     The conduct of DEFENDANTS, and each of them, created a hostile work

                9 environment for PLAINTIFF, making the conditions of his employment intolerable in direct

               IO contravention of various statutes and state law decisions, including but not limited to California

               11   Government Code section l 2940(j). Plaintiff was subjected to a hostile work environment including
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               12   but not limited to, racial harassment and retaliation for opposing and protesting racial harassment.
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   <II"'       13          57.     The conduct of DEFENDANTS, and each of them, created a hostile work
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               15 contravention of various statutes and state law decisions, including but not limited to California
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               16 Government Code section 12940(j). Plaintiff was subjected to a hostile work environment including
           ~
               17 but not limited to, race harassment ~d retaliation for opposing and protesting race harassment.

               18          58.     The racial 'harassing conduct by DEFENDANTS, including UPS' employees,

               19 supervisors, principals and agents included, but was not limited to, subjecting PLAINTIFF to

               20 inexcusable harassment - instigated and led by and through KOCHEK.

               21          59.     The racially charged harassing conduct by DEFENDANTS, and UPS' employees,

               22 supervis~rs, principals and agents included, but was not limited to, subjecting PLAINTIFF to

               23   inexcusable harassment.

               24          60.     PLAINTIFF opposed and protested each incident of racial harassment. PLAINTIFF

               25   alleges on infonnation and belief that his complaints were never investigated, and his protests were

               26 never taken seriously or completely ignored. Further, by failing to act, DEFENDANTS substantially

               27 encouraged each offender to continue the harassing conduct without fear of any adverse or

               28   corrective action taken.

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                                                          PLAINTIFF'S COMPLAINT
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                               61.    DEFENDANTS had a duty to take all complaints of race harassment seriously by

                   2   refusing to investigate DEFENDANTS substantially encouraged a work environment hostile and

                   3 ratified the racially charged h_arassing conduct of DEFENDANTS employees.

                   4           62.    Such harassment was so severe and pervasive that it altered the conditions of

                   5 PLAINTIFF's employment, creating a hostile work environment and thereby endangering

                   6   PLAINTIFF's physical health and making his working conditions intolerable.

                   7           63.    As a result of DEFENDANTS' disparate treatment of PLAINTIFF because he is an

                   8 African-American, PLAINTIFF was harmed.

                   9           64.    As a proximate result of DEFENDANTS' harassment, beratement and retaliation,

                  10 PLAlNTIFF has sustained and continues to sustain losses in earnings and other employment

                  11   benefits.
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   s ::i          12          65.     As a proximate result of DEFENDANTS' harassment, beratement and retaliation,
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                  13   PLAINTIFF has sustained and continues to suffer emotional distress, mental and physical pain,
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                  15           66.    DEFENDANTS' harassment, beratement and retaliation of PLAINTIFF because he
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           ~      16   is African-American were substantial factors in causing PLAINTIFF's harm.
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                  17           67.    In light of the willful, knowing, and intentional harassment, discrimination and

                  18 retaliation by DEFENDANTS, PLAINTIFF seeks an award of punitive and exemplary damages in

                  19 an amount according to proof at trial.

                  20           68.    PLAINTIFF has incurred and continues to incur legal expenses and attorneys' fees.

                  21   PLAINTIFF will seek the recovery of his attorneys' fees and costs at the conclusion of this lawsuit.

                  22                                     THIRD CAUSE OF ACTION

                  23                                    Retaliation in Violation of FEHA

                  24                                               {As to UPS)

                  25           69.    PLAINTIFF incorporates by reference, repeats and realleges, all preceding and

                  26   subsequent paragraphs.

                  27           70.    PLAlNTIFF complained to UPS, his superiors and upper management, concerning

                  28   the harassment, discrimination and hostility he was experiencing.

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                                                              PLAINTIFF'S COMPLAINT
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                             71.       PLAINTIFF also complained to UPS, his superiors and upper management,

                 2    concerning the verbal abuse he received by KOCHEK and others while working at UPS.

                 3           72.       PLAINTIFF also complained to UPS, his superiors and upper management,

                 4 concerning the illegal and retaliatory nature of UPS' actions and decisions to terminate employees

                 5 such as PLAINTIFF based on pre-textual and wholly fabricated allegations that demeaned, damaged
                 6 and destroyed PLAfNTIFF's character and reputation.

                 7           73.       PLAINTIFF engaged in a protected activity when he complained about the foregoing

                 8 to DEFENDANTS.

                 9           74.       In response thereto, UPS retaliated against PLAINTIFF in numerous ways including,

                10 subjecting PLAINTIFF to strict scrutiny in the workplace, allowing further harassment and hostility

                11    against him and ultimately terminating his employment.
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                 12          75.       All of the conduct alleged herein and ultimate termination of employment of
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     V)"'       13    PLAINTIFF was based on his race (African-American) and was part of an ongoing and continuing
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z ill::;~       14 pattern of conduct in violation of California Go,,emment Code §§ 12926(o) and (s) and l 2940(h).
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                15 Government Code§ J2940(h) of FEHA makes it unlawful to for an employer to discharge, expel,
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     ~o~        16    or otherwise discriminate against any person because the person has opposed any practices
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                17 forbidden under this part. At all times herein mentioned, the FEHA (Cal. Gov't. Code § I 2900 et

                18 seq.) and its implementing regulations were in full force and effect and binding on the
                19 DEFENDANTS.

                20           76.       By engaging in the foregoing acts and omissions, DEFENDANTS retaliated against

                2l    PLAINTIFF because he participated in protected activities in violation of Government Code §§

                22    I 2940 et seq.

                23           77.       PLAINTIFF's engagement in this protected activity, namely complaining about

                24    DEFENDANTS'          several   unlawful employment practices, were motivating        reasons for

                25    DEFENDANTS to retaliate against PLAINTIFF.

                26           78.       As a proximate result of UPS' wrongful conduct, PLAINTIFF has sustained and

                27 continues to sustain losses in earnings and other employment benefits.

                28           79.       As a proximate result of UPS' wrongful conduct, PLAINTIFF has suffered and

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                                                            PLAlNTIFF'S COMPLAINT
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         continues to suffer emotional distress, mental and physical pain, anguish, pain and suffering, loss of

     2 sleep, loss of appetite, anxiety, migraines, depression and shame.

     3           80.       UPS' retaliatory conduct was a substantial factor in causing PLAINTIFF's harm.
     4           81.       In light of the willful, knowing, and intentional discrimination and retaliation by

     5 UPS, PLAINTIFF seeks an award of punitive and exemplary damages in an amount according to
     6 proof at trial.

     7           82.       PLAINTIFF has incurred and continues to incur legal expenses and attorneys' fees.

     8 PLAINTIFF         will seek the recovery of his attorneys' fees and costs at the conclusion of this lawsuit.
     9                                       FOURTH CAUSE OF ACTION

    10                      Whistle blower Retaliation in Violation of Labor Code § 1102.S

    11                                                  (As to UPS)

    12           83.       PLAINTIFF incorporates by reference, repeats, and realleges all preceding and

    13   subsequent paragraphs.

    14           84.       At all times herein mentioned, Labor Code § 1102.5 was in full force and effect to

    15 promote a "broad public policy interest in encouraging workplace whistleblowers to report unlawful

    16 acts without fearing retaliation." See Green v. Ralee Engineering Co., I 9 Cal. 4th 66, 77 (Cal. 1998).

    17 Specifically, Labor Code § 1102.S(b) prohibits an employer from retaliating against an employee

    18   for disclosing infonnation "to a person with authority over the employee or another employee" who

    19 has "authority to investigate, discover, or correct" an employer for violating or failing to comply

    20 with a "local, state, or federal rule or regulation ...."

    21           85.      Toward the end of his employment, PLAINTIFF was placed in a "managerial" role

    22 with UPS, responsible for supervising numerous employees. By investigating grievances of illegal

    23   conduct disclosed by other employees against management including Defendant KOCHEK,

    24 PLAINTIFF was responsible for disclosing infonnation to "to a person with authority over the

    25   employee or another employee" according to Labor Code § I I 02.S(b) regarding the illegal conduct

    26   penneating UPS.

    27           86.       By engaging in the above-referenced acts and omissions, UPS retaliated against
    28   PLAINTIFF because he was responsible for disclosing information "to a person with authority over

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      1 the employee or another employee" in violation of Labor Code§ 1102.S(b).

      2          87.      Furthennore, UPS' retaliatory efforts were intentional and meant to subject

      3 PLAINTIFF to cruel and unjust hardship in conscious disregard of PLAINTIFF's rights by creating

     4 an unbearably hostile and harassing work environment to force PLAINTIFF to resign or set up

      5 PLAINTIFF for a pretextual wrongful tennination based on his ..managerial" role with UPS.

      6          88.      In light of the willful and malicious, fraudulent, and/or oppressive acts of UPS,

      7 PLAINTIFF seeks an award of punitive and exemplary damages in an amount according to proof at

      8 trial.

     9           89.      As a direct and proximate result of UPS' conduct, PLAINTIFF was caused to suffer,

     IO and continues to suffer from, loss of wages, humiliation, anxiety, severe emotional distress, special

     l I damages, and general damages according to proof at the time of trial.

     12          90.      Furthermore, PLAINTIFF has incurred and continues to incur legal expenses and

     13 attorneys' fees. PLAINTIFF will seek to recover his attorneys' fees and costs at the conclusion of

     14 this lawsuit.

     15                                     FIFfH CAUSE OF ACTION

    16                 Failure to Prevent Discrimination and Retaliation in Violation of FERA

     17                                               (As to UPS)

    18           91.      PLAINTIFF incorporates by reference, repeats and realleges, all preceding and

     19 subsequent paragraphs.

    20           92.      All of the conduct alleged herein and ultimate termination of employment of

    21    PLAINTIFF was based on his race (African-American) and was part of an ongoing and continuing

    22    pattern of conduct in violation of California Government Code §§ 12926(0) and 12940 (k).

    23    California Government Code§ 12940(k) makes it an unlawful employment practice for an employer

    24 to "fail to take all reasonable steps to prevent discrimination and harassment from occurring." At

    25 all times herein mentioned, the FEHA (Cal. Gov't. Code § 12900 et seq.) and its implementing

    26 regulations were in full force and effect and binding on the DEFENDANTS.

    27           93.      While UPS purports to have a harassment and discrimination policy, in practice, UPS

    28 provided no such policy for PLAINTIFF's benefit. When PLAINTIFF made complaints of

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         harassment and discrimination against UPS' employee, UPS failed to conduct a prompt and

     2   effective investigation of that complaint and failed to take prompt and effective remedial action.

     3   Moreover, UPS made it a practice to treat PLAINTIFF differently based on his race.

     4          94.     As a proximate result of the conduct of DEFENDANTS, PLAfNTIFF has suffered

     5 and will continue to suffer damages in tenns of lost wages, lost benefits, and other pecuniary loss

     6   according to proof. PLAINTIFF has also suffered and will continue to suffer physical and emotional

     7   injuries, including humiliation, depression, anguish, embarrassment, discomfort and anxiety. In light

     8 of the willful, knowing, and intentional discrimination, PLAINTIFF seeks an award of punitive and

     9 exemplary damages in an amount according to proof at trial.

    10          95.     A reasonable person in PLAINTIFF's position would have considered the work

    11   environment to be harassing, hostile or abusive.

    12          96.     PLAINTIFF was severely harmed by the hostile or abusive environment created by

    13   UPS.

    14          97.     In committing the foregoing acts, UPS have been guilty of oppression, fraud, or

    15   malice under California Civil Code Section 3294, thereby entitling PLAINTIFF to punitive damages

    16   in a sum appropriate to punish and make an example out of UPS.

    17          98.     The acts of oppression, fraud, or malice were engaged in by employees of UPS. UPS

    18   had advance knowledge of the unfitness of each employee which acted with malice, oppression, or

    19   fraud and employed him or her with a conscious disregard of the rights or safety of PLAINTIFF,

    20   and/or authorized or ratified the wrongful conduct for which an award of punitive damages is sought,

    21   and/or was personally guilty of oppression, fraud, or malice. The advance knowledge and conscious

    22   disregard, authorization, ratification, or act of oppression, fraud, or malice was committed by or on

    23   the part of an officer, director, or managing agent of each of the UPS, thereby entitling PLAINTIFF

    24   to punitive and exemplary damages against UPS in accordance with California Civil Code § 3294

    25   in a sum appropriate to punish and make an example of UPS.

    26          99.     PLAINTIFF has incurred and continues to incur legal expenses and attorneys' fees.

    27   PLAINTIFF will seek the recovery of his attorneys' fees and costs at the conclusion of this lawsuit.

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                                              PLAINTIFF'S COMPLAINT
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                                             SIXTH CAUSE OF ACTION

     2                                          Wrongful Termination

     3                                                 (As to UPS)

     4           I 00.   PLAINTIFF incorporates by reference, repeats and realleges, all preceding and
     5   subsequent paragraphs.
     6          101.     The decision to terminate PLAINTIFF was based, at least in substantial part, on
     7 PLAINTIFF's race and PLAINTIFF's complaints regarding abusive conduct and disparate

     8 treatment.

     9          l 02.    At all times herein mentioned, the public policy of the State of California, as codified,
    IO expressed and mandated in California Government Code§ 12940 was and is to prohibit employers

    11   from harassing, discriminating and retaliating against any individual based on, among other things,

    12 their race, opposing abusive conduct and upon exercise of rights under that Section. This public
    13 policy is designed to protect all employees and to promote the welfare and well-being of the
    14 community at large.        Accordingly, the actions of UPS, and each of them, in discriminating,
    l 5 retaliating and tenninating PLAINTIFF on the grounds stated above was wrongful and in

    16 contravention and violation of the express public policy of the State of California and the laws and
    17 regulation promulgated thereunder.

    18          l 03.    As set forth in Labor Code §98.6, it is unlawful for an employee to discharge an

    19 employee for making a complaint about conduct relating to his rights under the Labor Code.

    20          l 04. • § 1102.5 of the Labor Code has been interpreted to recognize a fundamental public

    21   policy prohibiting an employer from discharging an employee who reasonably and in good faith

    22 lodges a report inside or outside of the employer respecting a suspected violation of statutes or

    23   regulations of public importance. It is unlawful for an employer to retaliate and/or discharge an

    24 employee for performing a statutory obligation or for refusing to violate a statute.

    25          l 05.    It is unlawful for an employer to retaliate and/or discharge an employee for internal
    26 disclosure of"illegal, unethical or unsafe practices" which affect the public at large, not merely the

    27 employer.

    28          106.     PLAINTIFF was retaliated against, and ultimately discharged, in•violation of public

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                                                PLAINTIFF'S COMPLAINT
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     I   policy.

     2             I 07.   In so doing, said managing agents and/or officers of UPS acted with oppression,

     3 fraud and malice, as those tenns are used in California Civil Code§ 3294. As such, PLAINTIFF is

     4 entitled to an award of punitive damages.

     5             I 08.   As a proximate result of the aforesaid acts, PLAINTIFF lost, and will continue to

     6 lose, substantial earnings, promotional opportunities, fringe benefits and have suffered and/or will

     7 suffer other actual, consequential and incidental financial losses, in an amount to be proven at trial

     8 in excess of the jurisdictional minimum of this Court.

     9             I 09.   As a proximate result of the foregoing, PLAINTIFF has become mentally upset,

    l O distressed, embarrassed, humiliated, and aggravated in a sum in excess of the jurisdictional

    11   minimum of this Court.

    12                                     SEVENTH CAUSE OF ACTION

    13                               Negligent Hiring, Retention and Supervision

    14                                                (As to UPS)

    15             110.    PLAINTIFF incorporates by reference, repeats and re-alleges, all preceding and

    16 subsequent paragraphs.

    17             11 I.   PLAINTIFF is informed and believe and thereon alleges that at all times relevant

    18 herein that Defendant UPS knew or should have known through reasonable inspection of Defendant

    19 KOCHEK's propensity for abusive conduct, bullying, discrimination and hostility directed at other

    20 employees, including PLAINTIFF.

    21             112.    Defendant UPS had a duty to PLAINTIFF to not hire or retain Defendant KOCHEK

    22 given his propensities to bully, engage in abusive conduct, discrimination, harassment and to create

    23   a hostile work environment, and to provide reasonable supervision of Defendant KOCHEK.

    24             113.    Defendant UPS negligently hired, retained and/or supervised Defendant KOCH EK

    25   in his position with the company wherein Defendant KOCHEK's conduct could harm employees,

    26 including PLAINTIFF. Further, Defendant UPS failed to provide reasonable supervision of

    27   Defendant KOCHEK despite knowing his propensities for the aforementioned conduct and

    28   complaints made against him.

                                                          -20-
                                                PLAINTIFF'S COMPLAINT
           Case 2:19-cv-01292-RGK-MAA Document 1-1 Filed 02/21/19 Page 23 of 54 Page ID #:31




                             114.    As a direct and proximate result of Defendant UPS' aforementioned actions and

                  2   omissions, PLAINTlFF has suffered, and will continue to suffer physical, emotional and economic

                  3   hanns herein alleged.

                  4          115.    PLAINTIFF has incurred and continue to incur legal expenses and attorneys' fees.

                  5 PLAINTIFF will.seek the recovery of his attorneys' fees and costs at the conclusion of this lawsuit.

                  6                                    EIGHTH CAUSE OF ACTION

                  7                              Aiding and Abetting in Violation of FEHA

                  8                                               (As to UPS)

                  9          116.    PLAINTIFF incorporates by reference, repeats and re-alleges, all preceding and

                 10 subsequent paragraphs.

                 1t          117.    At all relevant times mentioned herein, California Government Code§ 12940 et seq.
           Sl
           N
   :!l
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           N
           ,-.   12   was in effect and binding against UPS. California Government Code§ 12940(i) makes it unlawful
   j!!~l.;
   ~;gi          13   for any person to "aid, abet, incite, compel, or coerce the doing of any of the acts forbidden under
B:~:$z ...~
:5
...
    I!:~.
      u.o        14   [the FEHA], or to attempt to do so." UPS violated this provision by, among other things, ratifying
~.,,-,-.
_,iQ5~
~ Bo:.;          15   the sever,;! and pervasive harassment, discrimination, abusive conduct and bullying complained of
>u-§
   s~;
  ;,:-~

   :;,:O         16 herein. The conduct alleged herein constituted more than a failure to act, it constituted an active
   ;       ~
                 17 cover-up of both KOCHEK's conduct, who is a known and serial harasser.

                 18          118.    UPS violated this provision by, among other things, allowing KOCHEK - a known

                 19 serial harasser - to harass, discriminate against, engage in abusive conduct and hostility with

                 20 PLArNTIFF; failing to investigate and/or take seriously PLAINTIFF's complaints of harassment,
                 21   discrimination and abusive conduct; failing to adequately discipline KOCHEK for harassing,

                 22 discriminating against, engaging in abusive conduct and open hostility against PLAINTIFF; failing
                 23   to have in place efficient policies prohibiting harassment, discrimination, abusive conduct and

                 24 hostile work environment; failing to enforce anti-racial harassment policies; allowing KOCHEK to

                 25   treat PLArNTIFF in a demeaning, dehumanizing fashion.

                 26          119.    UPS further violated this provision by failing to stop, prevent and actively engaging

                 27   in a cover-up ofKOCHEK's harassment, discrimination and abusive conduct of PLAINTIFF. At all

                 28 relevant times, UPS knew or should have known that KOCHEK was a known and serial harasser.

                                                                    -21-
                                                           PLAINTIFF'S COMPLAINT
Case 2:19-cv-01292-RGK-MAA Document 1-1 Filed 02/21/19 Page 24 of 54 Page ID #:32




     1 By failing to stop, prevent, and by covering-up KOCHEK's harassment, discrimination and abusive
     2 conduct, UPS assisted and abetted harassment, discrimination and abusive conduct; aided KOCHEK
     3 to continue to harass, discriminate against and engage in abusive conduct against PLAINTIFF; aided

     4 KOCHEK to treat PLArNTIFF in a dehumanizing fashion; and encouraged or substantially assisted
     5 KOCHEK in harassing, discriminating against and engaging in abusive conduct against
     6 PLAINTIFF.

     7          120.     PLAINTIFF was subjected to abusive conduct within the meaning of California

     8 Government Code section 12950.1 (g)(2). "Abusive conduct" is defined to mean "conduct of an

     9 employer or employee in the workplace, with malice, that a reasonable person would find hostile,

    10 offensive, and unrelated to an employer's legitimate business interests." Cal. Gov. Code§ 12950.1.

    11   The conduct by UPS as alleged herein, is severe and egregious, especially given that it knew or

    12 should have known of KOCHEK's underlying motivating factors for perpetrating harassment,

    13 discrimination and abusive conduct.

    14          121.     As a proximate result of UPS' conduct as alleged herein, PLAINTIFF has sustained

    15 and continue to sustain losses in earnings and other employment benefits.

    16          122.     As a proximate result of UPS' conduct as alleged herein, PLAINTIFF has sustained

    17 and continue to suffer emotional distress, mental and physical pain, anguish, pain and suffering, loss

    18 of sleep, loss of appetite, anxiety, depression and shame.

    19          123.     UPS' conduct alleged herein were substantial factors in causing PLAINTIFF's harm.

    20          124.     In so doing, the managing agents and/or officers of UPS, inclusive, acted with

    21   oppression, fraud and malice, as those tenns are used in California Civil Code § 3294. As such,

    22 PLAINTIFF is entitled to an award of punitive damages.

    23          125.     As a direct and proximate result of the aforementioned actions and omissions,

    24   PLAfNTIFF has suffered, and will continue to suffer physical, emotional and economic hanns

    25 herein alleged.

    26          126.     PLAINTIFF has incurred and continues to incur legal expenses and attorneys' fees.

    27 PLAINTIFF will seek the recovery of their attorneys' fees and costs at the conclusion of this lawsuit.

    28

                                                        -22-
                                              PLAINTIFF'S COMPLAINT
Case 2:19-cv-01292-RGK-MAA Document 1-1 Filed 02/21/19 Page 25 of 54 Page ID #:33




                                             NINTH CAUSE OF ACTION

      2                             Intentional Infliction of Emotional Distress

      3                                       (As to all DEFENDANTS)

      4          127.    PLAINTIFF incorporates by reference, repeats and realleges, all preceding and
      5   subsequent paragraphs.
      6          128.    DEFENDANTS engaged in intentional and outrageous conduct as alleged in this
      7 Complaint, to PLAINTIFF's detriment.

      8          129.    DEFENDANTS knew that the conduct was unlawful and condoned the illegal

      9 activity by permitting it to occur in the workplace. DEFENDANTS, and each of them, knew that
     IO such conduct would cause direct and immediate emotional harm to PLArNTIFF and they did
     11   nothing to remedy the situation.

     12          130.    DEFENDANTS, and each of them, subjected PLAINTIFF to verbal attacks,

     13 harassment, a hostile work environment, discrimination, retaliation and wrongful termination.

     14 DEFENDANTS engaged in these unlawful actions with the specific intent to deprive PLAINTIFF

     15 of his peace of mind and with reckless disregard for his well-being.

     16          131.    DEFENDANTS knew or should have known that the verbal attacks, harassment,

     17 hostile work environment, discrimination, bullying, and retaliatory conduct perpetrated by

     18 DEFENDANTS, and each of them, was unlawful and designed to cause harm to PLAINTIFF. Each

     19 of these acts and certainly all of them together, resulted in PLArNTIFF suffering severe and extreme

    20 emotional distress.

    21           132.    As a proximate result of DEFENDANTS' unlawful conduct, PLAINTIFF suffered

    22 and will continue to suffer economic loss or disadvantage and emotional distress, including but not
    23    limited to, fatigue, depression, a general decline in health, sustained and prolonged pain and

    24 suffering, anxiety, embarrassment, humiliation, loss of self-esteem, and mental anguish.

    25    PLAINTIFF is accordingly entitled to exemplary, general and compensatory damages and

    26 attorney's fees in amounts to be proven at trial.

    27           133.    PLAINTIFF seeks an award of general damages, special damages, exemplary

    28    damages, costs and damages in excess of the jurisdictional minimum of this Court.

                                                        -23-
                                               PLAINTIFF'S COMPLAINT
Case 2:19-cv-01292-RGK-MAA Document 1-1 Filed 02/21/19 Page 26 of 54 Page ID #:34




                                          TENTH CAUSE OF ACTION

     2                               Negligent Infliction of Emotional Distress

     3                                      (As to all DEFENDANTS)

     4          134.    PLAINTIFF incorporates by reference, repeats and realleges, all preceding and

     5 subsequent paragraphs.

     6          135.    DEFENDANTS engaged in negligent and careless conduct as alleged in this

     7 Complaint, to PLAINTIFF's detriment.

     8          136.    DEFENDANTS, and each of them, knew or should have known that such conduct

     9 would cause direct and immediate emotional hann to PLAINTIFF and they so negligently ran the

    IO employment environment that it did in fact cause PLAINTIFF such hann.

    11          137.    DEFENDANTS, and each of them, subjected PLAINTIFF to verbal attacks,

    12 harassment, hostile work' environment, discrimination, retaliation and wrongful termination.

    13   DEFENDANTS engaged in these actions with negligent disregard for PLAINTIFF's well-being.

    14          138.    DEFENDANTS knew or should have known that the verbal attacks, harassment,

    15 hostile work environment, discrimination, and retaliatory conduct perpetrated by DEFENDANTS,

    16 and each of them, was likely to cause hann to PLAINTIFF. Each of these acts and certainly all of

    17 them together, resulted in PLAINTIFF suffering severe and extreme emotional distress.

    18          139.    As a proximate result of DEFENDANTS' conduct, PLAINTIFF suffered and will

    19 continue to suffer economic loss or disadvantage and emotional distress, including but not limited

    20 to, fatigue, depression, a general decline in health, sustained and prolonged pain and suffering,

    21   anxiety, embarrassment, humiliation, loss of self-esteem, and mental anguish.       PLAINTIFF is

    22 accordingly entitled to exemplary, general and compensatory damages and attorney's fees in

    23   amounts to be proven at trial.

    24          140.    PLAINTIFF seeks an award of general damages, special damages, exemplary

    25   damages, costs and damages in excess of the jurisdictional minimum of this Court.

    26
    27

    28

                                                        -24-
                                              PLAINTIFF'S COMPLAINT
            Case 2:19-cv-01292-RGK-MAA Document 1-1 Filed 02/21/19 Page 27 of 54 Page ID #:35




                                                               JURY TRIAL DEMANDED

                   2          141.      PLAINTIFF demands a jury as to all causes of action and prayer for relief.

                   3                                             PRAYER FOR RELIEF

                   4          WHEREFORE, PLAINTIFF prays for judgment against DEFENDANTS, and each of
                   5 them,   as   follows:

                   6          1.        For economic damages according to proof, but no less than $1,000,000;

                   7          2.        For compensatory non-economic damages according to proof, but no less than

                   8                    $500,000;

                   9          3.        For liquidated damages;

                  10          4.        For civil penalties;

                  11          6.        For special damages according to proof;
           !i
   iB      N
            N     12          7.        For punitive damages where allowed by law;
   ~ iZ,-."'I::
   :, -    0,
   <II"' lil      13          8.        For pre and post judgment interest pursuant to California Civil Code § 3287 and/or
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'.)we,:•
i-~~o
z (/) ::J::.      14                    California Civil Code § 3288 and/or any other provision of law providing for pre and
<( <11<N
:J c,:UI::
<50"'
>u-~              15                    post judgment interest;
 z a:
   0~
   uz       ~
   iii:o~         16          9.        For attorneys' fees where allowed by law;
   ...
   ~    Ill..,
            ~
                  17          10.       For injunctive relief;

                  18          I 1.      For costs of suit incurred herein; and

                  19          12.       For such other and further relief as this Court deems just and proper.

                  20   DATED: June 21, 2018                          VALIANT LAW

                  21

                  22
                                                                     By:
                  23                                                              KAMRAN SHAHABI
                                                                                  Attorneys for Plaintiff
                  24                                                              CHRISTOPHER WILLIAMS

                  25

                  26
                  27
                  28

                                                                           -25-
                                                                 PLAINTIFF'S COMPLAINT
    Case 2:19-cv-01292-RGK-MAA Document 1-1 Filed 02/21/19 Page 28 of 54 Page ID #:36
.     .
Case 2:19-cv-01292-RGK-MAA Document 1-1 Filed 02/21/19 Page 29 of 54 Page ID #:37




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             DEPARTMENT OF FAIR EMPLOYMENT                                                 &    HOUSING                                                           DIRECTORKEV~KISH
             2218 Kausen Drive, Suire 100 I Elk Grove I CA 195758
            800-884-1684 I TOO B00-700-2320
            www.dfeh.ca.gov I email: contact.cen1er@dleh.ca.gov




     August02,2017

     Sidney Santos
     8885 Haven Avenue, Suite 170
     Rancho Cucamonga California 91730



     RE: Notice to Complainant or Complainant's Attorney
     DFEH Matter Number: 897199-303932
     Right to Sue: Williams/ United Parcel Services, Inc.

     Dear Complainant or Complainant's Attorney:

    Attached is a copy of your complaint of discrimination filed with the Department of Fair
    Employment and Housing (DFEH) pursuant to the California Fair Employment and
    Housing Act, Government Code section 12900 et seq. Also attached is a copy of your
    Notice of Case Closure and Right to Sue. Pursuant to Government Code section 12962,
    DFEH will not serve these documents on the employer. You or your attorney must
    serve the complaint. If you do not have an attorney, you must serve the complaint
    yourself. Please refer to the attached Notice of Case Closure and Right to Sue for
                                                    a
    information regarding filing private lawsuit in the State of California.

    Be advised that the DFEH does not review or edit the complaint form to ensure that it
    meets procedural or statutory requirements.

     Sincerely,

    Department of Fair Employment and Housing
Case 2:19-cv-01292-RGK-MAA Document 1-1 Filed 02/21/19 Page 30 of 54 Page ID #:38




                                                                                  GSl\/EftNAR EDMUND G. BROWN JR,
             DEPARTMENT OF FAIR EMPLOYMENT                           & HOUSING                DlllECTOR KEVIN KISH
             2218 Kausen Drive, Suite 100 I Elk Grove I CA I 9S758
             800-884-1684 I TOO 800•700-2320
             www.dfeh.ca.gov I email: con1actcen1er@dfeh.ca.gov




     August 02, 2017

     RE: Notice of Filing of Discrimination Complaint
     DFEH Matter Number: 897199-303932
     Right to Sue: Williams/ United Parcel Services, Inc.


     To All Respondent(s):

     Enclosed is a copy of a complaint of discrimination that has been filed with the
     Department of Fair Employment and Housing (DFEH) in accordance with Government
     Code section 12960. This constitutes service of the complaint pursuant to Government
     Code section 12962. The complainant has requested an authorization to file a lawsuit.
     This case is not being investigated by DFEH and is being closed immediately. A copy of
     the Notice of Case Closure and Right to Sue is enclosed for your records.

     Please refer to the attached complaint for a list of all respondent(s) and their contact
     information.

     No response to DFEH is requested or required.

     Sincerely,

     Department of Fair Employment and Housing
Case 2:19-cv-01292-RGK-MAA Document 1-1 Filed 02/21/19 Page 31 of 54 Page ID #:39




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             DEPARTMENT OF FAIR EMPLOYMENT                         & HOUSING                               DIRECTOR KEVIN KISH
            221B Kausen Drive, Suile 100 I Elk Grove I CA 195758
            800-004-16B4 I TOO B00-700-2320
            www.dfeh.ca.gov I email: contact.center@dfeh.ca.gov




     August02,2017

     Christopher Williams
     8885 Haven Avenue, Suite 170
     Rancho Cucamonga, California 91730

     RE: Notice of Case Closure and Right to Sue
     DFEH Matter Number: 897199-303932
     Right to Sue: Williams/ United Parcel Services, Inc.


     Dear Christopher Williams,

     This letter informs you that the above-referenced complaint was filed with the
     Department of Fair Employment and Housing (DFEH) has been closed effective August
     02, 2017 because an immediate Right to sue notice was requested. DFEH will take no
     further action on the complaint.

     This letter is also your Right to sue notice. According to Government Code section
     12965, subdivision (b), a civil action may be brought under the provisions of the Fair
     Employment and Housing Act against the person, employer, labor organization or
     employment agency named in the above-referenced complaint. The civil action must be
     filed within one year from the date of this letter.

     To obtain a federal Right to Sue notice, you must visit the U.S. Equal Employment
     Opportunity Commission (EEOC} to file a complaint within 30 days of receipt of this
     DFEH Notice of Case Closure or within 300 days of the alleged discriminatory act,
     whichever is earlier.

     Sincerely,



     Department of Fair Employment and Housing
Case 2:19-cv-01292-RGK-MAA Document 1-1 Filed 02/21/19 Page 32 of 54 Page ID #:40




            DEPARTMENT OF FAIR EMPLOYMENT                          & HOUSING   DIRECTOR KEVIN KISH
            2218 Kausen Drive, Suile 100 I Elk Grove I CA 195758
            800-884-1684 I TOD 800-700-2320
            www.dleh.ca.gov I emaJI·. c0ntac1.cen1e1@dleh.ca.aov




     Enclosures

      cc:
Case 2:19-cv-01292-RGK-MAA Document 1-1 Filed 02/21/19 Page 33 of 54 Page ID #:41




                           COMPLAINT OF EMPLOYMENT DISCRIMINATION

2                                    BEFORE THE STATE OF CALIFORNIA

3                       DEPARTMENT OF FAIR EMPLOYMENT AND HOUSING
                        Under the California Fair Employment and Housing Act
4                                    (Gov. Code,§ 12900 et seq.)
5

6    In the Matter of the Complaint of                       DFEH No. 897199-303932
     Christopher Williams, Complainant.
7    8885 Haven Avenue, Suite 170
     Rancho Cucamonga, California 91730
8

9    vs.

10    United Parcel Services, Inc., Respondent.
     55 Glenlake Parkway NE
11   Atlanta, Georgia 30328
12

13
      Complainant alleges:
14
      1. Respondent United Parcel Services, Inc. is a subject to suit under the California
15    Fair Employment and Housing Act (FEHA) (Gov. Code, § 12900 et seq.).
      Complainant believes respondent is subject to the FEHA.
16
     2. On or around September 27, 2016, complainant alleges that respondent took the
17
     following adverse actions against complainant: Discrimination, Harassment,
18   Retaliation Terminated, . Complainant believes respondent committed these
     actions because of their: Race .
19
      3. Complainant Christopher Williams resides in the City of Rancho Cucamonga,
20    State of California. If complaint includes co-respondents please see below.
21

22




                                                       -5-
                                        Complaint ±DFEH No. 897/99-303932
       Dale Filed: August 02. 2017
               Case 2:19-cv-01292-RGK-MAA Document 1-1 Filed 02/21/19 Page 34 of 54 Page ID #:42




               2
                    Additional Complaint Details:
               3
                    Mr. Williams complained about a supervisors actions and race discrimination. UPS
               4    retaliated and terminated Mr. Williams for making such complaint.
               5
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DF"EH ll<U,I                                                       -6-
                                                   Co111plai11t ±DFEH No. 897199-303931
                     Date Filed: August 02, 2017
       Case 2:19-cv-01292-RGK-MAA Document 1-1 Filed 02/21/19 Page 35 of 54 Page ID #:43




                VERIFICATION

                I, Raymond Babaian, am the Attorney for Complainant in the above-entitled
           2
                complaint. I have read the foregoing complaint and know the contents thereof. The
           3    same is true of my own knowledge, except as to those matters which are therein
                alleged on information and belief, and as to those matters, I believe it to be true.
           4
                on August 02, 2017, I declare under penalty of perjury under the laws of the State of
           5    California that the foregoing is true and correct.
           6
                                                                                Rancho Cucamonga, CA
           7                                                                         Raymond Babaian

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llfENtON                                                      -7-
                                               Complaillf ±DFEH No. 897/99-303932
                 Date Filed: August 02, 2017
Case 2:19-cv-01292-RGK-MAA Document 1-1 Filed 02/21/19 Page 36 of 54 Page ID #:44



                                                                                 COPY                                                                       CM..010
  ATTORNEY OR PA:!? l/\'ITHOUT ATTORNEY4Namo. Sraro Bar number, encl acf(f,v,s/·                                                  FOR COURr USE ONLY
'-Kamran Sha aba,(SBN276l9)
    VALIANT LAW
   4150 Concours Street, Suite 260, Ontario, CA 91764
   Ontario, CA 91764
       TELEPHONE NO. 909 .677 ,2270                            FAX NO 909.677.2290
  ATTORNEYF0R/Namo,. Plaintiff, Christooher Williams                                                                  co~~D {JOfJY
 SUPERIOR COURT CF CALIFORNIA, COUNTY OF   LOS AN GEL ES                                                                  s.~;~or~~.R,
       srnEerAooRess, I 11 North Hill Street
       MAJLINGAODRess, 11 I North Hill Street
      cITYAN02IPcooe. Los An~es CA 90012
                                                                                                                        JUN 2 2 2018
          BRANCH NAME. Stanley osk Courthouse                                                               Sh ~ITT l'l. Laner, Execu;we Of;IOQl:fG/erk
  CASE NAME:                                                                                                      By: Cristina Grijiwa, Deputy
  Williams v. United Parcel Service, Inc., et al.
      CIVIL CASE COVER SHEET                                      Complex Case Designation                      CASEm:17            1l 2l 0
 0     Unlimited              D
                        Limited
                                                              D        Counter       D  Jolndor
       (Amount          (Amount                                                                                 JUDGE
       demanded         demanded is                          Filed with first appearance by defendant
       exceeds $25,000) $25,000 or less)                         (Cal. Rules of Court, rule 3.402)                OEPT·
                                           Items 1-6 below must be completed (see mslruct,ons on page 2).
 1. Check one box below for the case type that best describes this case:
     Auto Tort                                              Contract                                    Provlslonafly Complex Clvll Litigation
     D      Auto (22)                                       D     Breach of conlract/warranty (06)      (Cal. Rules of Court, rufos 3.400-3.403)
     D       Uninsured mo!Orist (46}                        D     Rule 3.740 colleclions (09)           D      Anlilrusl/Trade regulation (03)
     Other PI/PD/WD (Personal Injury/Property               D     Olher colleclions (09)                D      Conslruction defect {10)
     OamageM'rongful Death) Tort                            D     Insurance coverage (16)               D      Mass   lort (40)
     D      Asbeslos (04)                                   D Olher conlract (37)                       D      Securilies liligalion (2B)
     D      Product liability (24)                          Roal Property                               D      Environmental!Toxic lort (30)
     D      Medical malpractice (45)                        D Eminent domain/Inverse                    D      Insurance coverage claims arising from the
     D      Olher Pl/PD/WO (23)                                   condemnation (14)                            above listed provisionally complex case
     Non-PIIPD/WD (Other) Tort                              D     Wrongful eviction (33)                       types (41)
     D      Business torVunfalr business practice {07)      D
                                                            Other real property (26)                    Enlorcoment or Judgmont
     D      Civil righls (08)                          Unlawful Detainer                                D      En(on:ement or Judgment (20)
     D      Deramallon (13)                                 D
                                                            Commercial (31)                             Mlscellaneous Civil       Complilfnt
     D       Fraud(16)                                      D     Residential (32)                      D      RIC0(27)
     D      lnlelleclual property (19)                      D     Drugs(38)                             D      Other complain! (not specified above) (42)
     D      Professional negligence (25)                  Judicial Review                               Mlscollanoous Civil Petition
     D   Olher non-Pl/PD/WO lort (35)                       D     Assel forfeiture (05)                 D      Partnership and corpora le governance (21)
     ~loymont                                               D     Petilion re: arbilration award (11)
                                                                                                        D      Other pelition (not specified above} (43)
     ~     Wrongful termlnallon (36)                        D     Wril of mandale (02)
     D     Olher employment (15)                            n     Other judicial review (39)
2. This case     LJ is l.!:'.J is not complex under rule 3.400 of the California Rules of Court. If the case is complex. mark the
     factors requiring exceptional judicial management:
     a.  D    Large number of separately represented parties       d.            D
                                                                      Large number of witnesses
     b.  D    Extensive motion practice raising difficuit or novel e.            D
                                                                      Coordination with related actions pending in one or more courts
              issues that will be time-consuming to resolve           in other counties, states, or countries, or in a federal court
     c.  D    Substantial amount of documentary evidence           f.            D
                                                                      Substantial pcsljudgment judicial supervision
3. Remedies sought (check all that apply): a            0
                                                    monetary b.                  0
                                                                         nonrnonetary; declaratory or injunctive relief                        c.[2Jpunitive
4. Number of causes of action (specify): 10
5. This case        Dis           0
                                is not a class action suit.
6. If there are any known related cases. file and serve a nolice of related case. (You may use form CM-015.)
Date: June 2 I, 2018
Kamran Shahabi, Esq.
                              (TYPE OR   PRINT NAMEJ
                                                                       NOTICE
                                                                                       ►
  • Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except small claims cases or cases filed
      under the Probate Code. Family Code, or Welfare and Institutions Code). (Cal. Rules of Court, rule 3.220.) Failure to file may result
      in sanctions.
  • File this cover sheet in addition to any cover sheet required by local court rule.
  • If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of lhis cover sheet on alt
     other parties to the action or proceeding.
  • Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes onlv.
                                                                                                                                        Paao 1 or 2
Form AdOpll!d ""MondDklrf u,o
  Juclc.ieJ Courx:il of Caflfomia                     CIVIL  CASE      COVER     SHEET                  Cal.Rul~:~•s~=~•:,3u~ci~};~~j~~~;l;•    1°d
  CM-010 jRov J<Jy I, 2007)                                                                                                                      mvw cor.111infu Cit gov
Case 2:19-cv-01292-RGK-MAA Document 1-1 Filed 02/21/19 Page 37 of 54 Page ID #:45



                                                                                                                                       CM-010
                                  INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET
To Plaintiffs and Others Filing First Papers. If you are filing a first paper (for example, a complaint) in a civil case, you must
complete and file, along with your first paper, the Civil Casa Covar Sheet contained on page 1. This information will be used to compile
statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In item 1, you must check
one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1,
check the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action.
To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party,
its counsel, or both to sanctions under rules 2.30 and 3 .220 of the Califomia Rules of Court
To Parties In Rule 3.740 Collections Cases. A "collections case" under rule 3.740 Is defined as an action for recovery of money
owed in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney's rees, arising from a transaction in
which property, services, or money was acquired on credit. A collections case does not Include an action seeking the following; (1) tort
damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of
attachment. The identification of a case as a rule 3.740 collections ease on this form means that it will be exempt from the general
time.for-service requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections
case will be subject to the requirements for service and obtaining a judgment In rule 3. 740.
To Parties In Complex Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
case is complex. If a plaintiff believes the case is complex under rule 3.400 of the Calffomia Rules of Court, this must be indicated by
completing the appropriate boxes in items 1 and 2. If a plaintiff designates a case as complex, the cover sheet must be served with the
complaint on all parties to the action, A defendant may file and serve no later than the lime of its first appearance a joinder in the
plaintiffs designation, a counter-designation that the case is not complex, or, if the plaintiff has made no designation, a designation that
the case is complex.                                       CASE TYPES AND EXAMPLES
Auto Tort                                        Contract                                          Provlslonalfy Co.mplex Clvlt Litigation (Cal.
     Auto (22)-Personal Injury/Property              Breach of Contract/Warranty (06)              Rules of Court Rules 3.400-3.403)
          Damage/Wrongful Death                          Breach of Rental/lease                           AntllrustfTrade Regulalion (03)
     Uninsured Motorist (46) (/flhe                           Contract (not unlawful detainer             Construction Defect (1 O}
          case Involves an uninsured                              or wrongful eviction)                   Claims Involving Mass Tort (40)
          motorist claim subject to                      Contract/Warranty Breach-Seller                  Securities Lfligalion (28)
          arbitration, r;heck this item                       Plainliff (not fraud or negligence)         Environmental/Toxic Tort (30)
          Instead of Auto)                               Negligent Breach of Contracv                     Insurance Coverage Clafms
Other PI/PDIWD (Porsonal rnJuryl                              Warranty                                        (arising from provisionally complex
Property Damage/Wrongful Death)                          Other Breach of Contra cl/Warranty                   case type listed above) (41)
Ton                                                  Colleciions (e.g., money owed, open             Enforcement of Judgment
     Asbestos (04)                                       book accounts) (09}                              Enforcement of Judgment (20}
          Asbestos Property Damage                       Collection Case-Seifer Plaintiff                     Abstract or Judgment (Out of
          Asbestos Personal lnjuryl                      Other Promissory Note/Collections                          County)
                Wrongful Death                                Case                                            Confession of Judgmenl (non-
     Product Uabllily (not asbestos or               Insurance Coverage (not provisionally                          domestic rulatlons)
          toxictenvironmental) (24)                      complex) (18)                                        Sisler Stale Judgment
     Medical Malpractice (45)                            Auto Subrogation                                     Administrative Agency Award
          Medical Malpractice-                           Other Coverage                                           (not unpaid taxes)
                Physicians & Surgeons                Other Contract (37}                                      Petition/Certification of Entry of
          Other Professional Health Care                 Contractual Fraud                                        Judgment on Unpaid Taxes
                Malpracifce                              Other Contract Dispute                               Other Enforcement of Judgment
     Other Pl/PD/WO (23)                         Real Property                                                      Case
          Premises Liabillty (e.g., slip             Eminent Domain/Inverse                          Miscellaneous Civil Complaint
                and fall}                                Condemnation (14)                                RICO (27)
          Intentional Bodily Injury/PO/WO           Wrongful Eviction (33)                               Other Complaint (not specffled
                                                                                                              above) (42}
                (e.g., assault, vandalism}           Other Real Property (e.g., quiet lille) (26}
          Intentional lnfllcilon of                      Writ of Possession or Real Property                  Declaratory Relief Only
                Emotional Distress                       Mor1gage Foreclosure                                 Injunctive Relief Only (non.
                                                                                                                    harassment)
          Negilgent Infliction of                        Quiet Titre
                Emotional Distress                       Other Real Property (not eminent                     Mechanics Lien
          Olher Pt/PD/WO                                 domain, landlorriltenant, or
                                                                                                              Other Commercial Complaint
Non-Pl/PD/WO (Other) Tort                                foreclosure)
                                                                                                                    Case (non-torllnon-comp/ex)
                                                                                                              Other Civil Complaint
     Business TorVUnfair Business                Unlawful Detainer                                                 (non•torl/non-complex)
         Practlce (07)                               Commercial (31)                                 Mlsceltaneous Clvll PetlUon
     Civil Rights (e.g., discrimination,            Residential (32)                                     Partnership and corporate
         false arrest} (not civil                    Drugs (38) (if the case Involves illegal                 Governance (21}
          harassment) (08)                               drugs, check this item; otherwise,              Other Pellllon (not specified
     Defamation (e.g.• slande<, libel)                   report as Commen:lal or Residential)                 above) (43)
           (13}                                  Judicial Review                ·                             Civil Harassment
     Fraud (16)                                     Asset Forfeiture (05)                                     Workplace Violence
     Intellectual Property (19)                     Pelilion Re: Arbitration Award (11)                       Elder/Dependenl Adult
     Professional NegUgence (25)                    Writ of Mandate (02)                                           Abuse
         Legal Malpractice                               Wrll-Admlnistralive Mandamus                         Election Contest
         Other Professional Malpractice                  Writ-Mandamus on Limited Court                       Petition for Name Change
              (not medical or legal)                         case Matter                                      Pettlion for Relief From Late
      Other Noo•PIIPD/WO Tort (35)                       Writ-Other Limited Court Case                              Claim
 Employment                                                  Review                                           other Civil Petition
     Wrongful Termination (36}                      Olher Judicial Review (39)
     Other Employment (15)                               Re\/lew of Health Officer Order
                                                         Notice of Appeal-Labor
                                                             Commissioner Appears
CM-010(RO'I July!, 2007)                                                                                                               Page2of2
                                                     CIVIL CASE COVER SHEET
 Case 2:19-cv-01292-RGK-MAA Document 1-1 Filed 02/21/19 Page 38 of 54 Page ID #:46



                                                                              COPY
                                                                                                         C.-.SE~IUMBER
 sHoRrnTLEWilliams v. United Parcel Service, Inc., et al.


                               CIVIL CASE COVER SHEET ADDENDUM AND
                                       STATEMENT OF LOCATION
                (CERTIFICATE OF GROUNDS FOR ASSIGNMENT TO COURTHOUSE LOCATION)

               This fonn ls required pursuant to Local Rule 2.3 In all now civil case filings In tho Los Angeles Suporlor Court



      Step 1: After completing the Civil Case Cover Sheet (Judicial Council form CM-010}, find the exact case type in
                   Column A that corresponds to the case type indicated in the Civil Case Cover Sheet.

      Step 2: In Column B, check the box for the type of action that best describes the nature of the case.

      Step 3: In Column C, circle the number which explains the reason for the court filing location you have
                   chosen.

                                            Applicable Reasons for Choosing Court Filing Location (Column C)

1. Class actions must be filed In the Stanley Mask Courthouse, Central District.        7. Localion where pelitioner resfdes.
2. Permissive filing In central dlslrlcl.                                               8. Localion wherein defendanurespondentrunctfons wholly.

3. Location where cause    or aclion arose.                                             9. Localion where one or more of lhe parties reside.
4. Mandatory personal injury filing In North District.                                 1O. locallon or Labor Commissioner Office.
                                                                                       11. Mandatory filing location (Hub Cases- unlawful detainer, limited
S. localion 'Mlere performance required or defendanl resides.
                                                                                       non•collectfon, limited collection, or personal injury).
6. Location or property or pennanenlly garaged vehicle.




                                 A                                                           8                                                         C
                     Civil Case Cover Sheet                                            Type or Action                                       Applicable Reasons •
                           Category No.                                               (Check only one)                                       See Slep 3 Above

                             Aulo (22)              0    A7100 Motor Vehicle - Personal Injury/Property Damage/Wrongful Death               1, 4, 11

                     Uninsured Motorist (46)        D A7110 Personal Injury/Property Damage/Wrongfur Dealh - Uninsured Molorfsl             1, 4. 11


                                                    □ A6070 Asbestos Property Damage                                                        1, 11
                          Asbestos (04)
                                                    D A7221 Asbestos• Personal lnjury/\Nrongful Dealh                                       1, 11


                      Product liability (24)        D A7260 Product Liability (not asbestos or toxfc/environmental)                         1, 4. 11


                                                    0    A7210 Medical Malpractice- Physfclans & Surgeons                                   1, 4, 11
                    Medical Malpractice (45)
                                                    D A7240 Olher Professfonal Heailh Care Malpractice                                      1, 4, 11


                                                    D A7250 Premises Liability (e.g., slip and rail)
                                                                                                                                           1, 4. 11
                         Olher Personal
                         Injury Property            0    A7230 lntenllonal Bodily Injury/Property Damage/Wrongful Dealh (e.g ..
                                                                                                                                            1, 4, 11
                        Damage Wrongful                        assault, vandallsm, elc.)
                           Dealh (23)                                                                                                       1, 4. 11
                                                    D A7270 lnlenlional lnflicllon of Emollonal Dlslress
                                                                                                                                           1, 4, 11
                                                    D A7220 Olher Personal Injury/Property Damage/\Nrongful Dealh




  LACIV 109 (Rev 2/16)                            CIVIL CASE COVER SHEET ADDENDUM                                                       Local Rule 2.3
  LASC Approved 03-04                                AND STATEMENT OF LOCATION                                                             Page 1 of4
 Case 2:19-cv-01292-RGK-MAA Document 1-1 Filed 02/21/19 Page 39 of 54 Page ID #:47




                                                                                                                                      CASE NUMBER
SHORT TITLE.   Williams v. United Parcel Service, Inc., et al.

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                       · Calegory,No;
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                                                                                   ..                           •· .Type of Aclfo.n
                                                                                                                 (Cheek only one)
                                                                                                                                                                    . C Appiicat>le ;'
                                                                                                                                                                  Reasons~ see siei, 3
                                                                                                                                                                    . ·.: .Aboye ......
                         ..         .., .... · .:
                                    . ;•:,'.,
                                                    · ••   .•.
                                                                    :,., ....'f          :
                                                                                        .. . -~-   \   .. :

                       Business Tort (07)                  D A6D29 Other CommerciaUBuslness Tort (not fraud/breach of contract)                                   1, 2, 3

   ~6
    1-
   Cl>                  Civil Rights (08)                  □ A60D5 Civil Rights/Discrimination                                                                    1. 2, 3
   ... .,,
   CL.c
   o_
   n. "'                 Defamation (13)                   □ A6010 Defamation (slander/libel)                                                                     1. 2, 3
   ~=!
   ::, .2
   £gt                        Fraud (16)                   □ A6013 Fraud (no contract)                                                                            1, 2, 3
   cue
   g::                                                                                                                                                            1, 2, 3
   rn - Cl>
   lil                                                     □ A6017 Legal Malpractice
   n. en        Professional Negligence (25)
   i!: ~                                                   □ A6050 Other Professional Malpracllce (nol medical or legal)                                          1,2, 3
   0"'
   zc
                              Olher(35)                    □ A6025 Other Non-Personal lnJwy/Property Damage tort                                                  1, 2, 3

     cCl>        Wrongful Termination (36)                 r:;;J      A6D37 wrongful Termlnallon                                                                  1.~
         ~
         0                                                 Ci}        A6024 other Employment Complaint Case                                                       1,@©
     a.              Other Employment (15)
     w
         E                                                 □ A6109 Labor Commissioner Appeals                                                                     10


                                                           □ A6004 Breach of RentaVLease Contract (not unlawful detainer or wrongful                              2,5
                                                                   eviction)
                Breach or Contract/ Warranty                                                                                                                      2,5
                            (06)                           D A6008 ConlractJVl/arranty Breach -Seller Plalntilf (no fraud/negligence)
                      (nol Insurance)                                                                                                                             1, 2, 5
                                                           D A6019 Negligent Breach of ContractJVl/arranty (no fraud)
                                                                                                                                                                  1, 2, 5
                                                           D A6028 Other Breach or Contracwvarranty (not fraud or negligence)

     ti                                                    □ A6002 Collections Case-Seller Plalnliff                                                              5,6, 11
     I!!                 Collections (09)
     i:                                                    □ A6012 Other Promissory Note/Collecllons Case                                                         5, 11
         0
     0
                                                           D A6034 Collectlons Case-Purchased Debi (Charged Off Consumer Debt                                     5,6, 11
                                                                   Purchased on or after Januruv 1. 2014)
                  Insurance Coverage (18)                  D A6015 Insurance Coverage (not complex)                                                               1, 2, 5, 8

                                                           0          A6009 Contractual Fraud                                                                     1, 2, 3, 5
                       Other Contract (37)                 □ A6031 Tortlous Interference                                                                          1. 2, 3, 5
                                                           D A6027 Other Contract Dispute{not breach/insurance/fraud/negligence)                                  1, 2, 3, 8, 9

                     Eminent Domain/Inverse                                                                                             Number of parcels_ _
                       Condemnation (14)                   □ A7300 Eminent Domain/Condemnallon                                                                    2,6

                      Wrongful Eviction (33)               □ A6023 Wrongful Eviction Case                                                                         2,6

                                                           □ A6D18 Mortgage Foreclosure                                                                           2.6
                     Other Real Property (26)              □ A6032 Quiel TIiie                                                                                    2,6
                                                           0 A6060 Olhei- Real Property (not eminent domain, landlord/tenant, foreclosure)                        2,6

                Unlawful Detainer-Commercial
                            (31)                           □ A6021 Unlawful Detainer-Commercial (not drugs or wrongful eviction)                                 6, 11

                Unlawful Detalner-ResldenUal
                                                           D A6020 Unlawful Detainer-Residential (not drugs or wrongful evlcUon)                                 6, 11
                                 132)
                       Unlawful Detainer•                                                                                                                        2,6,11
                                                           0 A6020F Unlawful Detainer-Post-Foreclosure
                      Post-Foreclosure (34)
                unlawful Defalner•Drugs (38)               D A6022 Unlawful Detainer-Drugs                                                                       2, 6, 11



 LACIV 109 (Rev 2/16)                                  CIVIL CASE COVER SHEET ADDENDUM                                                                         Local Rule 2.3
 LASC Approved 03-04                                      AND STATEMENT OF LOCATION                                                                              Page 2 of 4
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SHORT TITLE                                            ,                                                CASENUI.IBER
              Williams v. United Parcel Service, Inc., et al.

              1·.                                                                              .B                                    C Appiicable
                                                                                         Type of Action                      i    Reason$ - See ~tep 3
                                                                                        (Check only one)                             · Abov.~ ·

                       Asset Forfeiture (05)       D A6108 Asset Forfeiture Case                                                 2,3,6

                    Petition re Arbitration (11)   □       A6115 Petition to CompeVConfirmNacateArbllration                      2,5

                                                   □       A6151 Writ-Administrative Mandamus                                    2,8
                       Writ of Mandate (02)        □       A6152 Writ- Mandamus 011 Limited Court Case Matter                    2
                                                   D A6153 Writ • Other Limited Court Case Review                                2

                    Other Judicial Review (39)     □       A6150 Other Writ /Judicial Review                                     2,8

                Antitrust/Trade Regulation (03)    D A6003 Antilrusl/Trade Regulalion                                            1,2,6

                     Construction Defect (10)      D A6007 Construction Defect                                                   1, 2, 3

                    Claims Involving Mass Tort
                                                   D A6006 Claims Involving Mass Tort                                            1. 2, 6
                               (40)

                     Securities Litigation (28)    D A6035 Securilies Litigation Case                                            1, 2, 8

                            Toxic Tort
                        environmental (30)
                                                   D A6036 Toxic Tort/Environmental                                              1,2,3, 8

                    Insurance Coverage Claims      □       A6014 Insurance Coverage/Subrogation (complex case only)              1,2,5,8
                      from Complex Case (41}

                                                   □       A6141 Sister Stale Judgment                                           2, 5, 11
                                                   O A6160 Abstract of Judgment                                                  2,6
  cc
   ID    ID
   E  E                    Enforcement             D A6107 Confession of Judgment {non-domestic relations}                       2,9
   a, Cl
                         of Judgment {20)
  ~ -g                                             D A6140 Administrative Agency Award (not unpaid laxes)                        2,8
  -..,
  C      -0                                        □       A6114 Pelllion/Certificale for Entry of Judgment on Unpaid Tax        2,8
  W
                                                   tl A6112 Other Enforcement of Judgment Case                                   2,8,9

                            RICO(27}               □       A6033 Racketeering (RICO) Case                                        1, 2, 8
   ., .!I
   ::i C:
   .,C
   0 iii
        -Q.
                                                   0 A6030 Declaratory Rellef Only                                               1, 2, 8
  :!!! g                Other Complaints           D A6040 lnjuncllve Relief Only (not domestic/harassment)                      2,8
   .,flu-           (Not Specified Above) {42)     O A6011 Olher Commercial Complaint Case (non-lort/non-cornplex)               1, 2, 8
  ~ :E
         u                                         D A6000 Other Civil Complaint (non-tort/non-complex)                          1,2,6

                     Partnership Corporation       □       A6113 Pannershlp and Corporate Governance Case                        2,8
                        Governance (21)

                                                   D A6121 Civil Harassment                                                      2,3,9
                                                   □       A6123 Workplace Harassment                                            2, 3,9
                                                   □       A6124 Elder/Dependent Adult Abuse Case                                2,3,9
                       Other Petitions (Not
                      Specified Above) (43)        □       A6190 Election Contest                                                2
                                                   □       A611 O Petition for Change of Name/Change of Gender                   2, 7
                                                   D A6170 Pelition for Relief from Lale Claim Law                               2,3,8
                                                   D A6100 Other Civil Petition                                                  2,9




 LACIV 109 (Rev 2/16)                              CIVIL CASE COVER SHEET ADDENDUM                                          Local Rule 2.3
 lASC Approved 03-04                                       AND STATEMENT OF LOCATION                                          Page 3of4
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 SHORT TITLE.                                                                               CASENUM8ER
                 Williams v. United Parcel Service, Inc., et al.


Step 4:     Statement of Reason and Address: Check the appropriate boxes for the numbers shown under Column C for the
            type of action that you have selected. Enter the address which is the basis for the filing location, including zip code.
            (No address required for class action cases).

                                                                        AOCRESS.
   REASON:                                                              1800 N. Main Street
                                                                        Los Angeles, CA 90031
    ,., 1.,;, 2. "· 3. _A. :·:: 5. j6. ·: 7. ;-1 8. ( 9.,10.•~'11.



   CITY.                                       STATE.      ZIP COD~,

   Los Angeles                                 CA          90031


Step 5: Certification of Assignment:         I certify that this case is properly filed in the Central Justice Center   District of
            the Superior Court of Calffornia, County of Los Angeles [Code Civ. Proc., §392 et seq., and Local Rule 2.3(a)(1)(E)].




  Dated: June 21, 2018
                                                                                        (SIGNATURE OF ATTORNEY/FILING ~RTY)




  PLEASE HAVE THE FOLLOWING ITEMS COMPLETED AND READY TO BE FILED IN ORDER TO PROPERLY
  COMMENCE YOUR NEW COURT CASE:

       1.   Original Complaint or Petition.
       2.       If filing a Complaint, a completed Summons form for issuance by the Clerk.

       3.       Civil Case Cover Sheet. Judicial Council form CM-010.

       4.       Civil Case Cover Sheet Addendum and Statement of Location form, LACIV 109, LASC Approved 03-04 (Rev.
                02/16).
       5.       Payment in full of the filing fee, unless there is court order for waiver, partial or scheduled payments.

       6.   A signed order appointing the Guardian ad Litem, Judicial Council form C IV-010, if the plaintiff or petitioner is a
            minor under 18 years of age will be required by Court in order to issue a summons.

       7.   Additional copies of documents to be conformed by the Clerk. Copies of the cover sheet and this addendum
            must be served along with the summons and complaint, or other initiating pleading in the case.




  LACIV 109 (Rev 2/16)                        CIVIL CASE COVER SHEET ADDENDUM                                               Local Rule 2.3
  LASC Approved 03--04                           AND STATEMENT OF LOCATION                                                    Page 4 of4
    Case 2:19-cv-01292-RGK-MAA Document 1-1 Filed 02/21/19 Page 42 of 54 Page ID #:50



                        SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
                         NOTICE OF CASE ASSIGNMENT - UNLIMITED CIVIL CASE - IC
                                          Case Number _ _ _ _ _ _ _ _ _ _ _ _ __,..
                                                                                                                                  Be 711 21 b
                             THIS FORM IS TO BE SERVED WITH THE SUMMONS AND COMPLAINT

    Your case is assigned for all purposes to the judicial officer indicated below.

                ASSIGNED JUDGE               DEPT                 ROOM            :                      ASSJGNED JUDGE          DEPT   ROOM
          Hon. Debre K. Weintraub                I                 534                            Hon. Elizabeth Allen White      48'    506

          Hon. Barbara A. Meiers                12                 636
                                                                              :,;                 Hon. Deirdre Hill               49     509

          Hon. Teny A. Green                    14 · .,            300        _;;\                Hon. Teresa A. Beaudet          50     508

          Hon. Richard Fruin                    15                 307   I\}                      Hon. Michael J. Raphael         51     51 I

          Hon. Rita Miller                      16                 306
                                                                         I~.}
                                                                          I'-         .
                                                                                                  Hon. Susan Bryant-Deason        52     510

          Hon. Richard E. Rico                  17                 309                            H~~ard L. Halm                  53     513
                                                                         ;;:;;:                                                             '
                                                                                                                                 (54 ./ ~
                                                                                              V
                                                19                 311        .....

                                                                                                                                 -
          Hon. Stephanie Bowick                                                                   Hon. Ernest M. Hiroshige
                                                                          ,

                                                                              ··.·,.
                                                                                          /
          Hon. Dalila Corral Lyons             20                  310   r:;;                     Hon. Malcolm H. Mackey          55     515

          Hon. Robert L. Hess                  24                  314   I\<:                     Hon. Holly J. Fujic             56     514

          Hon. Yvette M. Palazuelos            28                  318   I<·.\
                                                                         h"·
                                                                                  '               Hon. John P. Doyle              58     516
                                                                         I;.:.:·.·:
                                                                         l.:c:c
                                                                                                  Hon. Steven J. Kleifield        57     517
                                                                         [f
          Hon. Barbara Schepcr                 30                  400   ·'.'>                    Hon. Gregory Kcosian            61     732

          Hon. Samantha Jcssner                31                  407   ,{-:!                    Hon. Michael L. Stem            62     600

          Hon. DarJiel S. Murphy               32                  406    ?Y                      Hon. Mark Mooney                68     617

          Hon. Michael P. Linficld             34                  408
                                                                         i'.:}                    Hon. William   r-. Fahey        69    621

          Hon. Gregory Alarcon                 36                 410            ,.
                                                                                                  Hon. Monica Bachner             71    729

          Hon. David S. Cunnigham              37                 413         ::;::               Hon. Ruth ArJn Kwan             72    731
                                                                         t::·:.'.:
          HorJ. Maureen DuJTy-Lcwis            38                 412                             Hon. Rafael Ongkcko             73    733

          Hon. Elizabeth Fcffer                39                 415    11};                     Hon. Michelle Williams Court    74    735

          Hon. David Sotelo                    40                 414    1}2                      Hon. Gail Ruderman Feuer        78    730

          Hon. Holly E. Kendig                 42                 416    1;+..:... ,
          Hon. Mel Red Rccana                  45                 529    1:\
                                                                         1:.:_:.~:-
          Hon. Randolph Hammock                47
                                                          I
                                                              I   507    1:-,·.::.

    Given to the Plaintiff/Cross-Complainant/Attomi of Record on _ _ _ _--c(D:--1(¥n-l\JH                          1 1 lOlB




LACIV 190 (Rev 12/17)          NOTICE OF       ASE ASSIGNMENT - UNLIMITED CIVIL CASE
LASC Approved 05/06
   Case 2:19-cv-01292-RGK-MAA Document 1-1 Filed 02/21/19 Page 43 of 54 Page ID #:51



                                   INSTRUCTIONS FOR HANDLING UNLIMITED CIVIL CASES

The f~llowing critical provisions of the California Rules of Court, Title 3, Division 7, as applicable in the Superior Court, are summarized
for your assistance.

APPLICATION
The Division 7 Rules were effective January I, 2007. They apply to all general civil cases.

PRIORITY OVER OTHER RULES
The Division 7 Rules shall have priority over all other Local Rules to the extent the others are inconsistent.

CHALLENGE TO ASSIGNED JUDGE
A challenge under Code of Civil Procedure Section 170.6 must be made within 15 days after notice of assignment for all purposes
to a judge, or ifa party has not yet appeared, within 15 days of the first appearance.

TIME STANDARDS
Cases assigned to the Independent Calendaring Courts will be subject to processing under the following time standards:

COMPLAINTS
All complaints shall be served within 60 days of filing and proof of service shall be filed within 90 days.

CROSS-COMPLAINTS
Without leave of court first being obtained, no cross-complaint may be filed by any party after their answer is filed.          Cross-
complaints shall be served within 30 days of the filing date and a proof of service filed within 60 days of the filing date.

STATUS CONFERENCE
A status conference will be scheduled by the assigned Independent Calendar Judge no later than 270 days after the filing of the
complaint. Counsel must be fully prepared to discuss the following issues: alternative dispute resolution, bifurcation, settlement,
trial date, and expert witnesses.

FINAL STATUS CONFERENCE
The Court will require the parties to attend a final status conference not more than 10 days before the scheduled trial date. All
parties shall have motions in limine, bifurcation motions, statements of major evidcntiary issues, dispositive motions, requested
fonn jury instructions, special jury instructions, and special jury verdicts timely filed and served prior to the conference. These
matters may be heard and resolved at this conference. At least five days before this conference, counsel must also have exchanged
lists of exhibits and witnesses, and have submitted to the court a brief statement of the case to be read to the jury panel as required
by Chapter Three of the Los Angeles Superior Court Rules.

SANCTIONS
The court will impose appropriate sanctions for the failure or refusal to comply with Chapter Three Rules, orders made by the
Court, and time standards or deadlines established by the Court or by the Chapter Three Rules. Such sanctions may be on a party,
or if appropriate, on counsel for a party.

This is not a complete delineation of the Division 7 or Chapter Three Rules, and adherence only to the above provisions is
therefore not a guarantee against the imposition of sanctions under Trial Court Delay Reduction. Careful reading and
compliance with the actual Chapter Rules is imperative.

Class Actions
Pursuant to Local Rule 2.3, all class actions shall be filed at the Stanley Mask Courthouse and are randomly assigned to a complex
judge at the designated complex courthouse. If the case is found not to be a class action it will be returned to an Independent
Calendar Courtroom for all purposes.

*Provisionally Complex Cases
Cases filed as provisionally complex are initially assigned to the Supervising Judge of complex litigation for detennination of
complex status. If the case is deemed to be complex within the meaning of California Rules of Court 3.400 et seq., it will be
randomly assigned to a complex judge at the designated complex courthouse. If the case is found not to be complex, it will be
returned to an Independent Calendar Courtroom for all purposes.




LACIV 190 (Rev 12/17)       NOTICE OF CASE ASSIGNMENT - UNLIMITED CIVIL CASE
LASC Approved 05/06
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                                                                VOLUNTARY EFFICIENT LITIGATION STIPULATIONS


                                                                   The Early Organizational Meeting Stipulation, Discovery
                                                                Resolution Stipulation, and Motions in Limine Stipulation are
  Superior Court of California                                  voluntary stipulations entered into by the parties. The parties
  County of Los Angeles
                                                                may enter into one, two, or all three of the stipulations;
                                                                however, they may not alter the stipulations as written,
                                                                because the Court wants to ensure uniformity of application.
  Los Angeles County
  Bar Association                                               These stipulations are meant to encourage cooperation
  Litigation Section

  Los Angeles County
                                                                between the parties and to assist in resolving issues in a
  Bar Association Labor and
  Employment Law Section                                        manner that promotes economic case resolution and judicial
                                                                efficiency.
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                                                                    The    following     organizations   endorse   the   goal   of
  Consumer Attorneys
  Association of Los Angeles                                    promoting efficiency in litigation and ask that counsel
                                                                consider using these stipulations as a voluntary way            to
                                                                promote communications and procedures among counsel
                                                                and with the court to fairly resolve issues in their cases.

                                                                ♦ Los   Angeles County Bar Association Litigation Section ♦
  Southern California
  Defense Counsel
                                                                              ♦   Los Angeles County Bar Association

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  A.UOIJU\lrl.UI                ""-'I lu.'1tl$
                                                                              Labor and Employment Law Section ♦
            ab..,. ......,
  Association of
  Business Trial Lawyers                                            ♦ Consumer        Attorneys Association of Los Angeles ♦


                                                                          ♦ Southern     California Defense    Counsel ♦



                                                                          ♦ Association    of Business Trial   Lawyers ♦


  California Employment
  Lawyers Association
                                                                     ♦ California     Employment Lawyers       Association ♦



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      NAME AND ADDRESS Of ATTORNEY OR PARTY WITHOUT ATTORNEY:                 $TATE BAR NUMBER            Rescrvod for cicrt·s Filo Stamp

• 1




                TELEPHONE NO.:                                  FAX NO. (Oplional):
       E-MAIL ADDRESS (Optional):
          ATTORNEY FOR /Name\:
      SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
      COURTHOUSE ADDRESS:


      PLAINTIFF:


      DEFENDANT:


                                                                                                 CASE NUMBER:
                          STIPULATION - DISCOVERY RESOLUTION

            This stipulation is intended to provide a fast and informal resolution of discovery issues
            through limited paperwork and an informal conference with the Court to aid in the
            resolution of the issues.

            The parties agree that:

             1. Prior to the discovery cut-off in this action, no discovery motion shall be filed or heard unless
                the moving party first makes a written request for an Informal Discovery Conference pursuant
                to the terms of this stipulation.

            2. At the Informal Discovery Conference the Court will consider the dispute presented by parties
                   and determine whether it can be resolved informally. Nothing set forth herein will preclude a.
                   party from making a record at the conclusion of an Informal Discovery Conference, ·either
                   orally or in writing.

            3. Following a reasonable and good faith attempt at an informal resolution of each issue to be
               presented, a party may request an Informal Discovery Conference pursuant to the following
               procedures:

                        a. The party requesting the Informal Discovery Conference will:

                            i.     File a Request for Informal Discovery Conference with the clerk's office on the
                                   approved form (copy attached) and deliver a courtesy, conformed copy to the
                                   assigned department;

                           ii.     Include a brief summary of the dispute and specify the relief requested; and

                          iii.     Serve the opposing party pursuant to any authorized or agreed method of service
                                   that ensures that the opposing party receives the Request for Informal Discovery
                                   Conference no later than the next court day following the filing.

                        b. Any Answer to a Request for Informal Discovery Conference must:

                            i.     Also be filed on the approved form (copy attached);

                           ii.     Include a brief summary of why the requested relief should be denied;
            LACIV 036 (new)
            LASC Approved 04/11                     STIPULATION -DISCOVERY RESOLUTION
            For Optional Use                                                                                                  Page 1 of3
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             iii.   Be filed within two (2) court days of receipt of the Request; and

             iv.    Be served on the opposing party pursuant to any authorized or agreed upon
                    method of service that ensures that the opposing party receives the Answer no
                    later than the next court day following the filing.                         ·

       c. No other pleadings, including but not limited to exhibits, declarations, or attachments, will
          be accepted.

       d. If the Court has not granted or denied the Request for Informal Discovery Conference
          within ten (10) days following the filing of the Request, then it shall be deemed to have
          been denied. If the Court acts on the Request, the parties will be notified whether the
          Request for Informal Discovery Conference has been granted or denied and,. if granted,
          the date and time of the Informal Discovery Conference; which must be within twenty (20)
          days of the filing of the Request for Informal Discovery Conference.

       e. If the conference is not held within twenty (20) days of the filing of the Request for
          Informal Discovery Conference, unless extended by agreement of the parties and the
          Court, then the Request for the Informal Discovery Conference shall be deemed to have
          been denied at that time.

   4. If (a) the Court has denied a conference or (b) one of the time deadlines above has expired
      without the Court having acted or (c) the Informal Discovery Conference is concluded without
      resolving the dispute, then a party may file a discovery motion to address unresolved issues.

   5. The parties hereby further agree that the time for making a motion to compel or other
      discovery· motion is tolled from the date of filing of the Request for Informal Discovery
      Conference until (a) the request is denied or deemed denied or (b) twenty (20) days after the
      filing of the Request for Informal Discovery Conference, whichever is earlier, unless extended
      by Order ofthe Court.                                                         ·

      It is the understanding and intent of the parties that this stipulation shall, for each discovery
      dispute to which it applies, constitute a writing memorializing a "specific later date to which
      the propounding [or demanding or requesting] party and the responding party have agreed in
      writing," within the meaning of Code Civil Procedure sections 2030.300(c), 2031.320(c), and
      2033.290(c).       ·

   6. Nothing herein will preclude any party from applying ex parte for appropriate relief, including
      an order shortening time for a motion to be heard concerning discovery.

  7. Any party may terminate this stipulation by giving twenty-one (21) days notice of intent to
     terminate the stipulation.

  8. References to "days" mean calendar days, unless otherwise noted. If the date for performing
     any act pursuant to this stipulation falls on a Saturday, Sunday or Court holiday, then the time
     for performing that act shall be extended to the next Court day.



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  LASC Approved 04/11         STIPULATION - DISCOVERY RESOLUTION
  For Optional Use                                                                           Page 2 of 3
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               discussed in the "Alternative Dispute Resolution (ADR) Information Package" served with the
               complaint;

          h. Computation of damages, including documents, not privileged or protected from disclosure, on
             which such computation is based;

          i.   Whether the case is suitable for the Expedited Jury Trial procedures (see information at
               Www./acourt.org under "Civif' and then under "General Information").

     2.        The time for a defending party to respond to a complaint or cross-complaint will be extended
               to __________ for the complaint, and---==,..,,....,.~--- for the cross-
                          (JNSERT DATE)                                      (INSERT DATE)
               complaint, which is comprised of the 30 days to respond under Government Code§ 68616(b),
               and the 30 days permitted· by Code of Civil Procedure section 1054(a), good cause having
               been found by.the Civil Supervising Judge due to the case management benefits provided by
               thisStipulation. A copy of the General Order can be found at www.lacourt.org under "Civif',
               click on "General Information", then click on "Voluntary Efficient Litigation Stipulations".

     3.        The parties will prepare a joint report titled "Joint Status Report Pursuant to Initial Conference
               and Early Organizaticmal Meeting Stipulation, and if desired, a proposed order summarizing
               results of their meet and confer ~rid advising the Court of any way it may assist the parties'
               efficient conduct cir resolution of the case. The parties shall attach the Joint Status Report to
               the Case Management Conference statement, and file the documents when the. CMC
               statement is due.

     4.        References to "days" mean calendar days, unless otherwise noted. If the date for performing
               any act pursua·nt to this stipulation falls on a,Saturday, Sunday or Court holiday, then the time
               for performing that act shall be extended to the next Court day

     The following parties stipulate:

     Date:
                                                                 ►
                  (TYPE OR PRINT NAME)                                       (ATTORNEY FOR PLAINTIFF)
     Date:
                                                                 ►
                  (TYPE OR PRINT NAME)                                      (ATTORNEY FOR DEFENDANT)
     Date:
                                                                 ►
                  (TYPE OR PRINT NAME)                                      (ATTORNEY FOR DEFENDANT)
     Date:
                                                                 ►
                  (TYPE OR PRINT NAME)                                      (ATTORNEY FOR DEFENDANT)
     Date:
                                                                 ►
                  (TYPE OR PRINT NAME)                                 (ATTORNEY FOR
     Date:
                                                                .►
                  (TYPE OR P.RINT NAME)                                (ATTORNEY FOR
     Date:
                                                                 ►
                  (TYPE OR PRINT NAME)                                 (ATTORNEY FOR


     LACIV 229 (Rev ()2/15)
     LASC Approved 04/11       STIPULATION - EARLY ORGANIZATIONAL MEETING                               Page 2 of 2
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,,   NAME AND ADDRESS OF ATTORNEY OR PARTY WITHOUT An ORN EV:                  STATE BAA N\J/,feER                                                  0
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               TELEPHONE NO.:                                    FAX NO. (Optional):
      E-MAIL ADDRESS (Optional):
         ATTORNEY FOR/Name\:
     SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
     COURTHOUSE ADDRESS:


     PLAINTIFF:


     DEFENDANT:


                                                                                                                   CASE NUMBER:
                              INFORMAL DISCOVERY CONFERENCE
                      (pursuant to the Discovery Resolution Stipulation of the parties)
            1. This document relates to:
                         D           Request for Informal Discovery Conference
                         D           Answer to Request for Informal Discovery Conference
           2. Deadline for Court to decide on Request: ________                                       (insert date 10 calendar days following filing of
                    tile Request).
           3. Deadline for Court to hold Informal Discovery Conference: ________                                                    (insert dale 20 calendar
                    days following filing of the Request).

           4. For a Request for Informal Discovery Conference, briefly describe the nature of the
                    discovery dispute, including the facts and legal arguments at issue. For an Answer to
                    Request for Informal Discovery Conference, briefly describe why the Court should deny
                    th_: _r~9_u:s_~~~     ?i_:_c?.YE:'}'_r__!~'?.'.~~i-~9-_!~:__!~cts and lef!~~...argum_~!1_!~-~!_!~~~:: ·- _
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           LASC Approved 04/11
                                                       INFORMAL DISCOVERY CONFERENCE
           For Optional Use                  (pursuant lo the Discovery Resolution Stipulation of the parties)
     Case 2:19-cv-01292-RGK-MAA Document 1-1 Filed 02/21/19 Page 49 of 54 Page ID #:57
      '   .
.,   NAME AND ADDRESS OF ATTORNEY OR PARTY WITHOUT ATTORNEY;                 STATE BAR NUMBER            Acsef'red forCl~1k"s Filo SI amp




               TELEPHONE NO.:                                  FAX NO. (Optional):
      E-MAIL ADDRESS (Oplional):
         ATTORNEY FOR (Name):
     SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
     COURTHOUSE ADDRESS:


     PLAINTIFF:


     DEFENDANT:


                                                                                                CASE NUMBER:
                   STIPULATION AND ORDER-MOTIONS IN LIMINE


           This stipulation is intended to provide fast and informal resolution of evidentiary
           issues through diligent efforts to define and discuss such issues and limit paperwork.


           The parties agree that:

           1. At least _ _ days before the final status conference, each party will provide all other
              parties with a list containing a one paragraph explanation of each proposed motion in
              limine. Each one paragraph explanation must identify the substance of a single proposed
              motion in Ii mine and the grounds for the proposed motion:

           2. The parties thereafter will meet and confer, ei_ther in person or via teleconference or
              videoconference, concerning all proposed motions in limine. In that meet and confer, the
              parties will determine:

                  a. Whether the parties can stipulate to any of the proposed motions. If the parties so
                     stipulate, they may file a stipulation and proposed order with the Court.

                  b. Whether any of the proposed motions can be briefed and submitted by means of a
                     short joint statement of issues. For each motion which can be addressed by a short
                     joint statement of issues, a short joint statement of issues must be filed with the Court
                     1O days prior to the final status conference. Each side's portion of the short joint
                     statement of issues may not exceed three pages. The parties will meet and confer to
                     agree on a date and manner for exchanging the parties' respective portions of the
                     short joint statement of issues and the process for filing the short joint statement of
                     issues.

           3. All proposed motions in limine that are not either the subject of a stipulation or briefed via
              a short joint statement of issues will be briefed and filed in accordance with the California
              Rules of Court and the Los Angeles Superior Court Rules.




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           LASC Approved 04/11               STIPULATION AND ORDER- MOTIONS IN LIMINE
           For Optional Use                                                                                                  Page 1 of2
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        The following parties stipulate:

        Date:
                                                               ►
                    (TYPE OR PRINT NAME)                                (ATTORNEY FOR PLAINTIFF)
        Date:
                                                               ►
                    (TYPE OR PRINT NAME)                               (ATTORNEY FOR DEFENDANT)
         Date:
                                                               ►
                    (TYPE OR PRINT NAME)                               (ATTORNEY FOR DEFENDANT)
         Date:
                                                               ►
                    (TYPE OR PRINT NAME)                               (ATTORNEY FOR DEFENDANT)
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                                                               ►
                    (TYPE OR PRINT NAME)                           (ATTORNEY FOR
         Date:
                                                               ►
                    (TYPE OR PRINT NAME)                           (ATTORNEY FOR
         Date:
                                                               ►
                    (TYPE OR PRINT NAME)                           (ATTORNEY FOR



        THE COURT SO ORDERS:

          Date:
                                                                            JUDICIAL OFFICER




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        LASC Approved 04/11
                                       STIPULATION AND ORDER - MOTIONS IN LIMINE               Page 2 of 2
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                                     Superior Court of California
                                       County of Los Angeles




                         ALTERNATIVE DISPUTE RESOLUTION (AD·R)
                                 INFORMATION PACKET


                         The person who files a civil lawsuit (plaintiff) must include the ADR information
                         Packet with the complaint when serving the defendant. Cross-complainants must
                         serve the ADR Information Packet on any new parties named to the action
                         together with the cross-complaint.

                         There are a number of ways to resolve civil disputes without having to sue
                         someone. These alternatives to a lawsuit are known as alternative dispute
                         resolution (ADR}.

                         In ADR, trained, impartial persons decide disputes or help parties decide disputes
                         themselves. These persons are called neutrals. For example, in mediations, the
                         neutral is the mediator. Neutrals normally are chosen by the disputing parties or by
                         the court. Neutrals can help resolve disputes without having to go to court.




          LAADR ODS (Rev. 03/17)
          LASC Adopted 10-03
          Cal. Rules of Court, rule 3.221
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      Advantages of ADR
               o       Often faster than going to trial
               o       Often less expensive, saving the litigants court costs, attorney's fees and expert fees.
               o       May permit more participation, allowing parties to have more control over the outcome.
               •       Allows for flexibility in choice of ADR processes and resolution of the dispute.
               •       Fosters cooperation by allowing parties to work together with the neutral to resolve the dispute and
                       mutually agree to remedy.
               •       There are fewer, if any, court appearances. Because ADR can be faster and save money, it can reduce
                       stress.

      Disadvantages of ADR - ADR may not be suitable for every dispute.
         • If ADR is binding, the parties normally give up most court protections, including a decision by a judge or
            jury under formal rules of evidence and procedure, and review for legal error by an appellate court.
         • ADR may not be effective if it takes place before the parties have sufficient information to resolve the
            dispute.
         e  The neutral may charge a fee for his or her services.
         • If the dispute ls not resolved through ADR, the parties may then have to face the usual and traditional
            costs of trial, such as attorney's fees and expert fees.


      The Most Common Types of ADR


               •       Mediation

                       In mediation, a neutral (the mediator) assists the parties in reaching a mutually acceptable resolution
                       of their dispute. Unlike lawsuits or some other types of ADR, the parties, rather than the mediator,
                       decide how the dispute is to be resolved.

                          •   Mediation is particularly effective when the parties have a continuing relationship, like
                              neighbors or business people. Mediation is also very effective where. personal feelings are
                              getting in the way of a resolution. This is because mediation normally gives the parties a chance
                              to express their feelings and find out how the other sees things.

                          •   Mediation may not be effective when one party is unwilling to cooperate or compromise or
                              when one of the parties has a significant advantage in power over the other. Therefore, it may
                              not be a good choice if the parties have a history of abuse or victimization.




      LAADR 005 (Rev. 03/17)
      LASC Adopted 10-03
      Cal. Rules of Court, rule 3.221

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            a    Arbitration

                In arbitration, a neutral person called an "arbitrator" hears arguments and evidence from each
                side and then decides the outcome of the dispute. Arbitration is typically less formal than a
                trial, and the rules of evidence may _be relaxed. Arbitration may be either "binding" or "non-
                binding.'' Binding arbitration means the parties waive their right to a trial and agree to accept
                the arbitrator's decision as final. Non-binding arbitration means that the parties are free to
                request a trial if they reject the arbitrator's decision.

                 Arbitration is best for cases where the parties want another person to decide the outcome of ,
                 their dispute for them but would like to avoid the formality, time, and expense of a trial. It may
                 also be appropriate for complex matters where the parties want a decision-maker who has
                 training or experience in the subject matter of the dispute.


            "    Mandatory Settlement Conference (MSC)

                Settlement Conferences are appropriate in any case where settlement is an option.
                Mandatory Settlement Conferences are ordered by the Court and are often held near the date
                a case is set for trial. The parties and their attorneys meet with a judge who devotes his or her
                time exclusively to preside over the MSC. The judge does not make a decision in the case but
                assists the parties in evaluating the strengths and weaknesses of the case and in negotiating a
                settlement.                                ·

                The Los Angeles Superior Court Mandatory Settlement Conference (MSC) program is free of
                charge and staffed by experienced sitting civil judges who devote their time exclusively to
                presiding over MSCs. The judges participating in the judicial MSC program and their locations
                are identified in the List of Settlement Officers found on the Los Angeles Superior Court website
                at http://www.lacourt.org/. This program is available in general jurisdiction cases with
                represented parties from independent calendar (IC) and Central Civil West (CCW) courtrooms.
                In addition, on an ad hoc basis, personal injury cases may be referred to the program on the
                eve of trial by the personal injury master calendar courts in the Stanley Mask Courthouse or the
                asbestos calendar court in CCW.

                In order to access the Los Angeles Superior Court MSC Program the judge in the IC courtroom,
                the CCW Courtroom or the personal injury master calendar courtroom must refer the parties to
                the program. Further, all parties must complete the information requested in the Settlement
                Conference Intake Form and email the completed form to mscdept18@lacourt.org.




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Additional Information

To locate a dispute resolution program or neutral in your community:

    •    Contact the California Department of Consumer Affairs (www.dca.ca.gov) Consumer Information
         Center toll free at 800-952-5210, or;
    •    Contact the local bar association (http://www.lacba.org/) or;
    •    Look in a telephone directory or search on line for "mediators; or "arbitrators."

There may be a charge for services provided by private arbitrators and mediators.


A list of approved State Bar Approved Mandatory Fee Arbitration programs is available at
http://calbar.ca.gov/Attorneys/MemberServices/FeeArbitration/ApprovedPrograrns.aspx#19


To request information about, or assistance with, dispute resolution, call the number listed below. Or you may
call a Contract Provider agency directly. A list of current Contract Provider agencies in Los Angeles County is
available at the link below.

http://css.lacounty.gov/programs/dispute-resolution-program-drp/



                                  County of Los Angeles Dispute Resolution Program
                                          3175 West 6th Street, Room 406
                                             Los Angel~s, CA 90020-1798
                                                 TEL: (213) 738-2621
                                                 FAX: (213) 386-3995




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Cal. Rules of Court, rule 3.221

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